     Case 2:25-cv-01650-JJT        Document 1       Filed 05/15/25   Page 1 of 62




     Susan Mary Rotkis, AZ Bar No. 032866
 1
     CONSUMER JUSTICE LAW FIRM
 2   2290 East Speedway Boulevard
     Tucson, AZ 85719
 3   T: (602) 807-1504
 4   F: (480) 613-7733
     E: srotkis@consumerjustice.com
 5
     David A. Chami, AZ Bar No. 027585
 6
     CONSUMER JUSTICE LAW FIRM
 7   8095 North 85th Way
     Scottsdale, AZ 85258
 8   T: (480) 626-2359
 9   F: (480) 613-7733
     E: dchami@consumerjustice.com
10
     Attorneys for Plaintiff
11
     Stephanie Stephens & the Putative Class
12
13
14                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ARIZONA
15
16
     Stephanie Stephens,                             Case No.:
17   individually and on behalf of all others
     similarly situated,
18
19                        Plaintiff,                 CLASS ACTION
                                                     COMPLAINT AND
20                 v.                                DEMAND FOR JURY TRIAL
21
     American Arbitration Association, Inc.,
22
                          Defendant.
23
24
25
26
27
28
                                                1
     Case 2:25-cv-01650-JJT         Document 1        Filed 05/15/25   Page 2 of 62




     “Representative government and trial by jury are the heart and lungs of liberty. Without
 1
     them, we have no other fortification against being ridden like horses, fleeced like sheep,
 2   worked like cattle, and fed and clothed like swine and hounds.”
                                                                                – John Adams
 3
 4                                      INTRODUCTION
 5            This case is about the predatorial behavior of an arbitration association in its
 6   attempt to race to the bottom of the barrel of justice to corner the market on consumer
 7   arbitrations. The cost of this injustice to consumers throughout the country cannot be
 8   understated. Through practices that include cut-rate pricing on arbitrations that do not
 9   adequately reflect the actual cost of neutral proceedings, rules that encourage
10   corporations to provide only one choice in arbitral forums by disallowing discovery into
11   corporations tactics, and shockingly abysmal outcomes for consumers, the American
12   Arbitration Association, Inc. (“AAA”) has obtained over 90% of the consumer
13   arbitration market and created an illegal monopoly in consumer arbitrations. AAA’s
14   monopoly harms competition and consumers by ensuring consumers have no choice in
15   choosing between arbitration forums or even what arbitrator AAA assigns them.
16            As a result, consumers who have valid claims, retain counsel, and file a claim in
17   the AAA lose 73% of the time nationally and in North Carolina1 and 89% of the time in
18   West Virginia, for instance. In fact, a consumer would have to be desperate given to
19   their opponents. In all the arbitrations consumers filed in West Virginia, consumers
20   have been awarded only $5,915 after final hearings. However, businesses in consumer-
21   filed West Virginia arbitrations have been awarded $60,840 - ten times the amount
22   awarded to consumers.
23            Consumer arbitration is one of several different areas in which the AAA offers
24   arbitration services. The AAA’s consumer rules state “These Rules were drafted and
25   designed to be consistent with the minimum due process principles of the Consumer
26
27   1
         The national consumer loss rate at the AAA is an identical 73%.
28
                                                  2
     Case 2:25-cv-01650-JJT           Document 1        Filed 05/15/25     Page 3 of 62




 1   Due    Process    Protocol.”     See    AAA    Consumer       Rules     p.   1,   available   at
 2   https://www.adr.org/sites/default/files/Consumer-Rules-Web_0.pdf (accessed March
 3   24, 2024). The Consumer Due Process Protocol has fifteen principles and attempts to
 4   explain the arbitration process to consumers. See AAA Consumer Due Process Protocol,
 5   available         at           https://www.adr.org/sites/default/files/document_repository/
 6   Consumer%20Due%20Process%20Protocol%20(1).pdf (accessed March 24, 2024).
 7   Pursuant to these protocols, arbitration is defined as: “...a process in which parties
 8   submit disputes to a neutral third person or persons for a decision on the merits…” Id at
 9   7. Principle one is titled “Fundamentally Fair Process” and states that “All parties are
10   entitled to a fundamentally fair ADR process. As embodiments of fundamental fairness,
11   these Principles should be observed in structuring ADR Programs.”
12          The American Arbitration Association now dominates approximately 94% of the
13   private consumer arbitrations in America. The American Arbitration Association is the
14   only forum available to consumers in a staggering 63% of the one hundred twenty-three
15   consumer agreements counsel reviewed prior to filing this complaint.2 Notably, the
16   AAA is the only forum available to consumers in all five of the top cell phone companies
17   in the United States by subscriber volume,3 in eight of the nine largest telecoms in West
18   Virginia and North Carolina,4 in all three of the major credit reporting agencies,5 and in
19   four of the five most popular payment apps, such as Zelle, PayPal, and others. 6 This is
20   just the tip of the iceberg.
21
22   2
       See list of credit card contracts starting on page 41 infra.
     3
23     AT&T, T-Mobile, Verizon, Boost Mobile, and US Cellular.
     4
       Spectrum, Frontier, Google Fiber, AT&T Fiber, Verizon Fiber, T-Mobile Home
24   Internet, Optimum, and Starlink.
     5
       Equifax, TransUnion, and Experian.
25   6
       The CFPB defines General Use Consumer Payment applications on the website here:
26   https://www.consumerfinance.gov/rules-policy/final-rules/defining-larger-participants-
     of-a-market-for-general-use-digital-consumer-payment-applications/ (accessed March
27   20, 2025). Plaintiff adopts this definition for the purposes of this complaint.
28
                                                    3
     Case 2:25-cv-01650-JJT       Document 1         Filed 05/15/25   Page 4 of 62




 1          Through its anticompetitive practices, the American Arbitration Association has
 2   created a monopolistic second-tiered justice system that provides consumers with no
 3   choice in the forum, the arbitrator, or rules. Instead, there is only one consistent rule:
 4   consumers lose 76% of the time in arbitrations they initiate. This is done intentionally
 5   through draconian rules, cut-rate arbitrations, and the selection of predominantly
 6   corporate defense counsel, as opposed to retired judges, to act as arbitrators. These
 7   practices make the American Arbitration Association extremely attractive to businesses
 8   who are no doubt thrilled to have a place where, no matter how much consumer litigation
 9   is conducted, consumers will be awarded a measly $5,915 amongst all their arbitrations
10   in an entire state.7 This massive loss rate will only increase if the American Arbitration
11   Association's new proposed consumer rules are implemented, requiring cases with less
12   than $50,000 to be tried on the papers by “desk arbitration.” See Exhibit 5, Proposed
13   American Arbitration Association Rules, R. R-36 p. 17. In a forum that does not allow
14   for discovery in any consumer case, the final hearing is often the only place to obtain
15   the facts of the case, and the AAA wants to take that away as well. Id.
16          Throughout this complaint, Plaintiff will compare the American Arbitration
17   Association to JAMS (available at www.jamsadr.com)8. JAMS is the second largest
18   forum that accepts consumer arbitrations in the relevant geographic area of the United
19   States of America. However, conflating AAA and JAMS as “competitors” would be
20   misleading. AAA manages an astounding 94% of all consumer arbitrations filed in the
21   United States of America over the previous seven-year period. The other smattering of
22   arbitral forums in the United States accepting consumer arbitrations represented only
23   5% percent of the 158,733 consumer arbitrations filed in the United States. JAMS, the
24
25   7
      West Virginia.
     8
26    The plaintiff is not taking the position that JAMS is a good forum, and instead would
     argue that none of the arbitral forums that are available in America compared to the state
27   and federal courts in quality and capability.
28
                                                 4
     Case 2:25-cv-01650-JJT        Document 1         Filed 05/15/25   Page 5 of 62




 1   second largest provider, constitutes 5% of arbitrations, and the only other forum
 2   discovered, NAM, constitutes .0003%.
 3          The AAA swallowed the United States consumer arbitration market by charging
 4   business cut-rate fees that significantly limit how much arbitrators can charge and earn
 5   handling consumer arbitrations through ultra-low hard caps on pay. They also severely
 6   restrict the rights of consumers to discover their arbitrations and ensure that the success
 7   rate of consumer arbitrations is astronomically low. In West Virginia, only 11% of
 8   consumers win their arbitrations at the final hearing in the AAA.
 9          Few arbitrators will spend the time on a complex consumer arbitration to
10   understand it for the meager $2,500 that the AAA capped cases at during most of the
11   class period.9 What’s more, that number dropped to half or $1,250 for settled cases,
12   which is far below the norm for other arbitrations, including the average of $5,572 for
13   JAMS consumer arbitrators that settle before hearing or summary judgment and
14   $27,315.51 for cases after a final hearing. Neutral forums, like JAMS, allow arbitrators
15   to charge their hourly rate. What’s more, it is only in consumer arbitrations the AAA
16   caps the arbitrator fees. In all other types of AAA arbitrations, including Employment,
17   Construction, Corporate, Healthcare, and Labor, the AAA arbitrator is paid his or her
18   hourly rate no matter what it is, the same as JAMS. AAA’s “Consumer Rules” are an
19   outlier even within AAA’s arbitration business.
20          The practice of limiting arbitrator fees to $2,500 a day and $1,250 for settled
21   cases discourages experienced and competent legal professionals from joining the AAA
22   consumer case panels. The AAA’s current low cap of $300 an hour continues to
23   9
       In January of 2024 this year the AAA started allowing a capped fee of $300 per hour
24   instead of the previous per case amount for consumer arbitrations. Consumer
     arbitrations are the only cases subject this cap, and it is believed to be about half of the
25   average compensation of arbitrators at other forums. See How Much Does Arbitration
26   Coase, ADR Times, available at https://adrtimes.com/how-much-does-arbitration-cost/
     (accessed Oct. 29, 2024) (“Currently, surveys show that arbitrators charge between $375
27   and $1,125 an hour with the midpoint being around $600.”)
28
                                                  5
     Case 2:25-cv-01650-JJT       Document 1         Filed 05/15/25   Page 6 of 62




 1   discourage competent arbitrators from joining the AAA, where the midpoint of
 2   arbitrator fees in the country is closer to $600 an hour, and because of AAA’s
 3   monopolistic power arbitrators at other forums or attorneys who want to become
 4   arbitrators would have to lower their rates to approximately half the market rate to be
 5   competitive. Further, it discourages arbitrators from reading the pleadings, briefing,
 6   researching the law, understating the case, or doing their job. This is the first key to
 7   AAA’s anticompetitive practice: marketing their arbitration services so far below the
 8   market standard that they effectively prevent fair competition. Other forums that offer
 9   arbitrators reasonable compensation for reading pleadings, conducting research, and
10   gaining a sufficient understanding of the case are unable to compete.
11          Not only does this negatively impact consumers, but businesses that want to get
12   a foothold in the door on consumer arbitration services cannot compete with the AAA’s
13   anticompetitive pricing and unusually restrictive rules while still maintaining a neutral
14   arbitration service. AAA’s anticompetitive pricing and unusually restrictive rules for
15   consumer arbitration discourage entrants from the market and undercut the other forums
16   that have some foothold.
17          The two features that the AAA offers corporations are 1) unfairly low prices for
18   arbitrators and 2) an unfair forum where consumers lose. These are the practices the
19   AAA uses to maintain its monopoly, and the balance of this complaint is to illustrate this
20   in more detail.
21                                          PARTIES
22          1.     The Plaintiff, Stephanie Stephens, is a resident of Maricopa County,
23   Arizona.
24          2.     The Defendant, American Arbitration Association, Inc. (hereinafter
25   AAA)10, is a corporation with its principal offices in New York and which does business
26
     10
       It is worth noting that the AAA is a non-profit organization and receives a tax benefit
27   for its monopolistic services.
28
                                                 6
     Case 2:25-cv-01650-JJT        Document 1         Filed 05/15/25   Page 7 of 62




 1   nationwide.
 2               QUESTIONS PRESENTED & LIMITATIONS ON CLAIMS
 3          3.     The fundamental question presented by this case is not whether arbitration
 4   should exist as an institution in consumer cases but whether that game will be rigged to
 5   benefit a “non-profit” monopoly. For in a rigged game, Plaintiffs are “…fleeced like
 6   sheep…”(John Adams, True Sentiments of America, 1765.)
 7          4.     To be clear, Plaintiff is not seeking damages for the conduct of the AAA
 8   in the handling or mishandling of any arbitration, including their own. This case is
 9   purely about choice. The unfair way the AAA handles consumer arbitrations and their
10   abysmal outcomes for consumers is only presented in this complaint as evidence of both
11   the negative outcome of AAA’s monopoly and the second service they provide
12   businesses, i.e., a forum where consumers always lose.
13          5.     Plaintiff is not asserting any claims, nor are they requesting any damages
14   Plaintiff may be entitled to, but for the existence of Arizona Code § 12-3001-12-3029.
15          6.     A business, even a “non-profit” one, taking action to create a monopoly is
16   not acting in its capacity as an arbitration forum but merely as a business attempting to
17   corner a market subset, in this case, consumer arbitrations.
18                                       JURISDICTION
19          7.     Jurisdiction is appropriate in this Court pursuant to the federal question
20   arising under 15 USC § 4.
21          8.     Jurisdiction is further proper pursuant to 28 USCS § 1367 as all the state
22   claims are from the same nucleus of operative facts; in fact, the law in all states instructs
23   the Court to look to federal jurisprudence to understand or interpret the state anti-
24   monopoly provisions.
25                       HISTORY OF MONOPOLY LEGISLATION
26          9.     Section 2 of the Sherman Act, 15 U.S.C. § 2, makes it an offense for any
27   person to “monopolize, or attempt to monopolize, or combine or conspire with any other
28
                                                  7
     Case 2:25-cv-01650-JJT       Document 1         Filed 05/15/25   Page 8 of 62




 1   person or persons, to monopolize any part of the trade or commerce among the several
 2   States....”
 3          10.    While § 1 of the Sherman Act forbids contracts or conspiracies in restraint
 4   of trade or commerce, § 2 addresses the actions of single firms that monopolize or
 5   attempt to monopolize, as well as conspiracies and combinations to monopolize.
 6          11.    The heart of the United States’s national economic policy has long been
 7   faith in the value of competition. In the Sherman and Clayton Acts, as well as in the
 8   Robinson-Patman Act, Congress was dealing with competition, which it sought to
 9   protect, and monopoly, which it sought to prevent. Standard Oil Co. v. Fed. Trade
10   Comm'n, 340 U.S. 231, 248–49 (1951).
11          12.    The Sherman Act condemns predatory pricing when it poses a dangerous
12   possibility of actual monopolization.
13          13.    The essence of a claim under either the Sherman or Robinson-Patman
14   statute is the same, namely that a business rival has unfairly priced its products with an
15   objective to eliminate or retard competition and thereby gain and exercise control over
16   prices in the relevant market.
17          14.    “‘[T]he principal objective of antitrust policy is to maximize consumer
18   welfare by encouraging firms to behave competitively.’” Kirtsaeng v. John Wiley &
19   Sons, Inc., 568 U.S. 519, 539(2013).
20          15.    “The Sherman Act was designed to be a comprehensive charter of
21   economic liberty aimed at preserving free and unfettered competition as the rule of trade.
22   It rests on the premise that the unrestrained interaction of competitive forces will yield
23   the best allocation of our economic resources, the lowest prices, the highest quality, and
24   the greatest material progress while at the same time providing an environment
25   conducive to the preservation of our democratic political and social institutions.”
26   Northern Pacific R. Co. v. United States, 356 U.S. 1, 4–5 (1958).
27          16.    “But even were that premise open to question, the policy unequivocally
28
                                                 8
     Case 2:25-cv-01650-JJT        Document 1        Filed 05/15/25   Page 9 of 62




 1   laid down by the Act is competition.” Northern Pacific R. Co. v. United States, 356 U.S.
 2   1, 4–5 (1958).
 3          17.     “[A]ntitrust law is concerned with influences that corrupt market
 4   conditions, not bargaining power. … Any combination which tampers with price
 5   structures is engaged in an unlawful activity.” Gelboim v. Bank of Am. Corp., 823 F.3d
 6   759, 773 (2d Cir. 2016).
 7          18.     Any anticompetitive act that is unresponsive to consumer preference is
 8   perhaps the most significant since “Congress designed the Sherman Act as a ‘consumer
 9   welfare prescription.’” Nat'l Collegiate Athletic Ass'n v. Bd. of Regents of Univ. of
10   Oklahoma, 468 U.S. 85, 107 (1984).
11          19.     “…[S]elling below cost, unless mitigated by some acceptable business
12   exigency, was intended to be prohibited by the words ‘unreasonably low prices.’ That
13   sales below cost without a justifying business reason may come within the proscriptions
14   of the Sherman Act has long been established. Further, when the Clayton Act was
15   enacted in 1914 to strengthen the Sherman Act, Congress passed § 2 to cover price
16   discrimination by large companies which compete by lowering prices, ‘oftentimes
17   below the cost of production ... with the intent to destroy and make unprofitable the
18   business of their competitors.’ H.R.Rep. No. 627, 63d Cong., 2d Sess. 8.
19          20.     The 1936 enactment of the Robinson-Patman Act was for the purpose of
20   ‘strengthening the Clayton Act provisions,’ and the Act was aimed at a specific weapon
21   of the monopolist—predatory pricing. Moreover, § 3 was described by Representative
22   Utterback, a House manager of the joint conference committee, as attaching ‘criminal
23   penalties in addition to the civil liabilities and remedies already provided by the Clayton
24   Act.’ 80 Cong.Rec. 9419.” United States v. National Dairy Products Corp., 372 U.S.
25   29, 33–34reh'g denied, 372 U.S. 961 (1963) (internal citations omitted).
26          21.     Many states have adopted similar statutes to protect marketplace
27   competition.
28
                                                 9
     Case 2:25-cv-01650-JJT       Document 1      Filed 05/15/25     Page 10 of 62




 1          22.    Arizona has made it illegal to establish, maintain, or use a monopoly.
 2   A.R.S. § 44-1403.
 3          23.    The Arizona Constitution, Article 14, Section 15, explicitly prohibits
 4   monopolies and trusts, providing:
 5
                   Monopolies and trusts shall never be allowed in this state and no
 6                 incorporated company, co-partnership or association of persons in
                   this state shall directly or indirectly combine or make any contract,
 7                 with any incorporated company, foreign or domestic, through their
 8                 stockholders or the trustees or assigns of such stockholders or with
                   any co-partnership or association of persons, or, in any manner
 9                 whatever, to fix the prices, limit the production, or regulate the
                   transportation of any product or commodity. The legislature shall
10
                   enact laws for the enforcement of this section by adequate
11                 penalties, and in the case of incorporated companies, if necessary
                   for that purpose, may, as a penalty declare a forfeiture of their
12                 franchises.
13
            24.    West Virginia found that “prices below the cost thereof can result in
14
     economic maladjustments and tend toward the creation of monopolies, thereby
15
     destroying fair and healthy competition; therefore, the below-cost sale of goods with the
16
     intent to destroy or the effect of destroying competition is deemed an unlawful unfair
17
     trade practice.” W. Va. Code § 47-11A-1(a).
18
            25.    The West Virginia Supreme Court of Appeals agreed that the state act “is
19
     a rational means of achieving the legitimate legislative goal of promoting healthy
20
     competition in this State by penalizing retailers and wholesalers that sell goods below
21
     cost in an attempt to destroy competition.” Syl. Pt. 2, Hartsock-Flesher Candy Co. v.
22
     Wheeling Wholesale Grocery Co., 174 W. Va. 538, 540, 328 S.E.2d 144, 146 (1984).
23
            26.    North Carolina has similarly adopted a state act to “promote the vigorous
24
     enforcement of the antitrust laws … for Chapter 75 violations will best advance the
25
26   legislative intent that such violations be deterred, and that aggrieved consumers have a
     private cause of action to redress violations.” Hyde v. Abbott Lab'ys, Inc., 123 N.C. App.
27
28
                                                10
     Case 2:25-cv-01650-JJT         Document 1      Filed 05/15/25    Page 11 of 62




 1   572, 584, 473 S.E.2d 680, 688 (1996).
 2         27.       Washington state has enshrined identical anti-monopoly protections in its
 3   Constitution:
 4
                     “Monopolies and trusts shall never be allowed in this state, and no
 5                   incorporated company, copartnership, or association of persons in
                     this state shall directly or indirectly combine or make any contract
 6                   with any other incorporated company, foreign or domestic,
 7                   through their stockholders, or the trustees or assignees of such
                     stockholders, or with any copartnership or association of persons,
 8                   or in any manner whatever for the purpose of fixing the price or
                     limiting the production or regulating the transportation of any
 9
                     product or commodity. The legislature shall pass laws for the
10                   enforcement of this section by adequate penalties, and in case of
                     incorporated companies, if necessary for that purpose, may declare
11                   a forfeiture of their franchises.”
12          Wash. Const. art. XII, § 22
13                                   RELEVANT PRODUCT
14         28.       The product, in this case, is consumer arbitrations.
15         29.       To understand what a consumer arbitration is, where better to look than
16   the AAA’s own definitions in their consumer due process protocol,
17
                     Arbitration is a process in which parties submit disputes to a
18                   neutral third person or persons for a decision on the merits. Each
                     party has an opportunity to present evidence to the arbitrator(s) in
19
                     writing or through witnesses. Arbitration proceedings tend to be
20                   more informal than court proceedings and adherence to judicial
                     rules of evidence is not usually required. Arbitrators decide cases
21                   by issuing written decisions or “awards.” An award may or may
22                   not be binding on the parties, depending on the agreement to
                     arbitrate. A “binding” arbitration award may be enforced as a court
23                   judgment under the terms of federal or state statutes, but judicial
                     review of arbitration awards is limited.
24
25         See AAA’s Consumer Due Process Protocol at 7, available at
           https://www.adr.org/sites/default/files/document_repository/Consumer%20Due
26         %20Process%20Protocol%20(1).pdf (accessed Sep. 4, 2024) (hereinafter
27         “AAA’s Consumer Due Process Protocol” and incorporated by reference into this

28
                                                  11
     Case 2:25-cv-01650-JJT         Document 1      Filed 05/15/25      Page 12 of 62




              complaint).
 1
              30.   A consumer is defined as: “Consumer refers to an individual who
 2
     purchases or leases goods or services, or contracts to purchase or lease goods or services,
 3
     intended primarily for personal, family or household use.” Id. at 6.
 4
              31.   For those reasons, the consumer rules do not apply to employment,
 5
     construction, or commercial cases, which have different rules in the AAA infrastructure.
 6
              32.   There are 15 principles articulated in the AAA’s Consumer Due Process
 7
     Protocol.
 8
              33.   The AAA’s Consumer Due Process Protocol is explicitly referenced in the
 9
     AAA’s Consumer Arbitration Rules as “These Rules were drafted and designed to be
10
     consistent with the minimum due process principles of the Consumer Due Process
11
     Protocol.”     See     AAA’s    Consumer     Arbitration   Rules     p.   1,   available   at
12
     https://www.adr.org/sites/default/files/Consumer-Rules-Web_0.pdf (accessed Sep. 4,
13
     2024).
14
              34.   Those principles are:
15
                    A.       Principle 1. Fundamentally Fair Process
16
                    B.       Principle 2. Access to Information Regarding the ADR Program
17
                    C.       Principle 3. Independent and Impartial Neutral; Independent
18
                             Administration
19
                    D.       Principle 4. Quality and Competence of Neutrals
20
                    E.       Principle 5. Small Claims
21
                    F.       Principle 6. Reasonable Cost
22
                    G.       Principle 7. Reasonably Convenient Location
23
                    H.       Principle 8. Reasonable Time Limits
24
                    I.       Principle 9. Right to Representation
25
                    J.       Principle 10. Mediation
26
                    K.       Principle 11. Agreements to Arbitrate
27
28
                                                  12
     Case 2:25-cv-01650-JJT        Document 1      Filed 05/15/25     Page 13 of 62




 1                  L.     Principle 12. Arbitration Hearings
 2                  M.     Principle 13. Access to Information
 3                  N.     Principle 14. Arbitral Remedies
 4                  O.     Principle 15. Arbitration Awards AAA’s Consumer Due Process
 5                         Protocols at 1-3.
 6          35.     Principle 1 of the Consumer due process protocol is Fundamentally-Fair
 7   Process and states, “All parties are entitled to a fundamentally-fair ADR process. As
 8   embodiments of fundamental fairness, these Principles should be observed in structuring
 9   ADR Programs.”
10          36.     The AAA’s Consumer Due Process Protocol goes on to state in its
11   “Introduction,”
12
                    “Yet because consumer contracts often do not involve arm’s
13                  length negotiation of terms, and frequently consist of boilerplate
                    language presented on a take-it-or-leave it basis by suppliers of
14                  goods or services, there are legitimate concerns regarding the
15                  fairness of consumer conflict resolution mechanisms required by
                    suppliers. This is particularly true in the realm of binding
16                  arbitration, where the courts are displaced by private adjudication
                    systems. In such cases, consumers are often unaware of their
17
                    procedural rights and obligations until the realities of out-of-court
18                  arbitration are revealed to them after disputes have arisen. While
                    the results may be entirely satisfactory, they may also fall short of
19                  consumers’ reasonable expectations of fairness and have a
20                  significant impact on consumers’ substantive rights and
                    remedies.”
21
            Id. at 4.
22
23          37.     In its “Reporter’s Comments” elaboration on Principle 1 (Fundamentally
24   Fair Process), the AAA states that,
25
                    “Users of ADR are entitled to a process that is fundamentally
26                  fair. Emerging standards governing consensual and court-
                    connected ADR programs reflect pervasive concerns with fair
27
28
                                                 13
     Case 2:25-cv-01650-JJT     Document 1      Filed 05/15/25    Page 14 of 62




                 process. See, e.g., III Ian R. Macneil, Richard E. Speidel, &
 1
                 Thomas J. Stipanowich, Federal Arbitration Law: Agreements,
 2               Awards & Remedies Under the Federal Arbitration Act ‘32.2.1
                 (1994) [hereinafter Federal Arbitration Law ] (noting “universal
 3               agreement” that arbitrators must provide parties with
 4               fundamentally-fair hearing). See also Kaiser Permanente Review
                 and Recommendations 1 (“As the sponsor of a mandatory system
 5               of arbitration, Kaiser Permanente must assure a fair system to their
                 members,               physicians          and              staff.”)
 6
 7               “Where conflict resolution processes are defined by a written
                 contract, that writing is often viewed by courts as the primary
 8               indicator of the “procedural fairness” for which the parties
 9               bargained. As the Advisory Committee recognized, however,
                 ADR agreements in most Consumer contracts are “take-it-or-
10               leave-it” contracts which are not products of negotiation by
                 Consumers. See David S. Schwartz, Enforcing Small Print to
11
                 Protect Big Business: Employee and Consumer Rights Claims in
12               an Age of Compelled Arbitration, 1997 Wis. L. Rev. 33, 55-60
                 (discussing adhesion dimension of pre-dispute arbitration
13               agreements in standardized contracts); Kaiser Permanente Review
14               and Recommendations 28 (noting that many members of a major
                 HMO have no realistic alternative for medical care). It is possible,
15               therefore, that contracts to which they have generally assented
                 contain ADR Agreements which fall so far short of
16
                 Consumers’ reasonable expectations that they would not have
17               entered into the agreement had they been aware of the
                 provisions. Thus, although these Principles attempt to enhance the
18               likelihood that Consumers will have specific knowledge of ADR
19               provisions at the time of contracting, the Advisory Committee also
                 believed it necessary to describe a baseline of reasonable
20               expectations for ADR in Consumer transactions. These Principles
                 identify specific minimum due process standards which
21
                 embody the concept of fundamental fairness, including:
22               informed consent; impartial and unbiased Neutrals;
                 independent administration of ADR; qualified Neutrals;
23               access to small claims court; reasonable costs (including,
24               where       appropriate,       subsidized     Provider-mandated
                 procedures); convenient hearing locations; reasonable time
25               limits; adequate representation; fair hearing procedures;
                 access to sufficient information; confidentiality; availability of
26               court remedies; application of legal principle and precedent by
27               arbitrators; and the option to receive a statement of reasons

28
                                              14
     Case 2:25-cv-01650-JJT     Document 1      Filed 05/15/25    Page 15 of 62




                  for arbitration awards.
 1
 2                “Where provisions in a standardized pre-dispute arbitration
                  agreement fail to meet Consumers’ reasonable expectations,
 3                there is authority for the principle that courts may properly
 4                refuse to enforce the arbitration agreement in whole or in part.
                  See Restatement (Second) of Contracts ‘ 211 (1981); Broemmer
 5                v. Abortion Services of Phoenix, Ltd., 173 Ariz. 148, 840 P.2d
                  1013 (1992) (standardized arbitration agreement was
 6
                  unenforceable where its terms fell beyond patient’s reasonable
 7                expectations); Graham v. Scissor-Tail, Inc., 623 P.2d 165 (Cal.
                  1981) (arbitration clauses in adhesion contracts are unenforceable
 8                if they are contrary to the reasonable expectations of parties or
 9                unconscionable). Cf. Cole v. Burns International Security
                  Services, 105 F.3d 1465 (D.C. Cir. 1997) (setting forth minimum
10                due process standards for judicial enforcement of arbitration
                  agreement in the context of a statutory employment discrimination
11
                  claim where the employee was required to enter into the agreement
12                as a condition of employment). Procedural fairness in Consumer
                  arbitration CONSUMER DUE PROCESS PROTOCOL
13                STATEMENT OF PRINCIPLES 9 | adr.orgagreements may also
14                be policed under other principles. See, e.g., Stirlen v. Supercuts,
                  51 Cal. App. 4th Supp. 1519, 60 Cal. Rptr.2d 138 (1997) (finding
15                remedial limits in “adhesive” employment agreement
                  unconscionable); Engalla v. Permanente Med. Grp., 938 P.2d 903
16
                  (Cal. 1997) (arbitration agreement was unenforceable if there was
17                substantial delay in arbitrator selection contrary to consumer’s
                  reasonable, fraudulently induced, contractual expectations).
18
19                “Because the Principles in this Protocol represent a
                  fundamental standard of fairness, waiver of any of these
20                Principles in a pre-dispute agreement will naturally be subject
                  to scrutiny as to conformity with the reasonable expectations
21
                  of the parties and other judicial standards governing the
22                enforceability of such contracts. Assuming they have sufficient
                  specific knowledge and understanding of the rights they are
23                waiving, however, Consumers may waive compliance with these
24                Principles after a dispute has arisen.”

25         Id. at p. 10 (emphasis added).
26
           38.    Principle 3. Independent and Impartial Neutral states that,
27
28
                                               15
     Case 2:25-cv-01650-JJT      Document 1      Filed 05/15/25    Page 16 of 62




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11         Id. at 11-12.

12         39.    The “Reporters Comments” to principle 3 state that,

13                The concept of a fair, independent and impartial Neutral (or
14                Neutral Panel) is enshrined in leading standards governing
                  arbitration and mediation. See Federal Arbitration Act ‘ 10(a)
15                (2); Uniform Arbitration Act ‘ 12(a) (2); AAA Commercial Rules
                  12, 13, 14, 19; BBB Arbitration Rules 6, 8. The Joint Standards
16
                  for Mediators describe mediator impartiality as “central” to the
17                mediation process and require mediators to conduct mediation in
                  an impartial manner. Joint Standards for Mediators, Art. II;
18                Standards for Court-Connected Programs ‘ 8.1.a. Similar policies
19                animate standards requiring mediators to disclose conflicts of
                  interest and to conduct the mediation in a fair manner. Joint
20                Standards for Mediators, Arts. III, VI; SPIDR Principles,
                  Principles 4.b., c., f.; 6.d., e., i.; Standards for Court-Connected
21
                  Programs ‘ 8.1.b.
22
                  When Neutrals are appointed by a court or other organization,
23                the appointing entity has an important obligation to ensure
24                their impartiality. This obligation entails a reasonable level of
                  oversight of Neutral performance. Comments to the Joint
25                Standards for Mediators indicate that “[w]hen mediators are
                  appointed by a court or institution, the appointing agency shall
26
                  make reasonable efforts to ensure that mediators serve
27                impartially.” Joint Standards for Mediators, Art. II. The Standards

28
                                               16
     Case 2:25-cv-01650-JJT     Document 1      Filed 05/15/25     Page 17 of 62




                 for Court-Connected Programs therefore require courts to “adopt
 1
                 a code of ethical standards for mediators [covering, among other
 2               things, impartiality and conflict of interest], together with
                 procedures to handle violations of the code.” Standards for Court-
 3               Connected Programs ‘ 8.1. For these and other reasons, the
 4               integrity and impartiality of the administrative organization is also
                 important; the growing use of arbitration and mediation in the
 5               Consumer context has also raised issues regarding the
                 administration of such processes. See, e.g., Engalla v. Permanente
 6
                 Med. Grp., 928 P.2d 903 (Cal. 1997). See generally Edward
 7               Dauer, Engalla’s Legacy to Arbitration, ADR Currents, Summer
                 1997, at 1; Principles for ADR Provider Organizations (setting
 8               forth general principles of responsible practice for ADR Provider
 9               Organizations, “entities which hold themselves out as offering,
                 brokering or administering dispute resolution services”).
10
                 In addition to appointing Neutrals, administering institutions often
11
                 perform many functions which have a direct impact on the conduct
12               of the dispute resolution process, including functions sometimes
                 performed by Neutrals. The consensus of the Advisory
13               Committee was that the reality and perception of impartiality
14               and fairness was as essential in the case of Independent ADR
                 Institutions as it was in the case of individual Neutrals. Thus,
15               the Advisory Committee concluded that when an ADR Agreement
                 mandates that parties resort to mediation or arbitration, the
16
                 administering Independent ADR Institution should be independent
17               of either party and impartial. See, e.g., Kaiser Permanente Review
                 and Recommendations 31 (recommending, first and foremost, the
18               “creation of an independent, accountable administrator” for the
19               Kaiser Permanente arbitration system to counter “perception of
                 bias” raised by “self-administration”). See also Principles for ADR
20               Provider Organizations (draft standards for organizations
                 providing ADR services). For this and other reasons, this
21
                 Principle may be the single most significant contribution of the
22               Protocol. In the long term, moreover, the independence of
                 administering institutions may be the greatest challenge of
23               Consumer ADR.
24
                 Broad disclosure of actual or potential conflicts of interest on
25               the part of prospective Neutrals is critical to the real and
                 perceived fairness of ADR. Although consenting parties have
26               considerable freedom to choose Neutrals, including those with
27               experience in a particular industry or profession, the key to

28
                                              17
     Case 2:25-cv-01650-JJT     Document 1      Filed 05/15/25     Page 18 of 62




                 informed consent is broad disclosure by prospective Neutrals.
 1
                 Therefore, a long line of authority under federal and state
 2               arbitration statutes establishes the principle that an
                 arbitrator’s failure to disclose certain relationships or other
 3               facts which raise issues of partiality may result in reversal of
 4               an arbitration award. See generally III Federal Arbitration Law
                 Ch. 28 (discussing legal and ethical rules governing arbitrator
 5               impartiality). The principle of disclosure is embodied in leading
                 arbitration rules and ethical standards. See AAA Commercial Rule
 6
                 19, NASD Code ‘ 10312; BBB Arbitration Rules 6, 8.
 7
                 The Joint Standards for Mediators mandate disclosure of “all
 8               actual and potential conflicts of interest reasonably known to the
 9               mediator” including any “dealing or relationship that might create
                 an impression of possible bias.” Joint Standards for Mediators,
10               Art. III. Thereafter, the mediator must await the parties’ agreement
                 to proceed with mediation. The same concerns require mediators
11
                 to identify and avoid conflicts during (and even after) mediation.
12               Id. Cf. Employment Due Process Protocol ‘ C.4. (mediators and
                 arbitrators have a duty to disclose any relationship which might
13               reasonably constitute or be perceived as a conflict of interest);
14               SPIDR Principles, Principles 4.b., c., f.; 6.d.,e., i.; Standards for
                 Court-Connected Programs ‘ 8.1.b.
15
                 Although they did not establish it as a requirement under these
16
                 Principles, most members of the Advisory Committee
17               endorsed the concept of a “list selection” process similar to
                 that employed by the AAA. See AAA Commercial Rule 14.
18               Under this process, the Independent ADR Institution provides
19               each of the parties with lists of prospective Neutrals and invites
                 the parties to identify and rank acceptable individuals. Mutually
20               acceptable Neutrals are thereby identified. The AAA approach
                 served as the model for other ADR standards. See, e.g.,
21
                 Employment Due Process Protocol ‘ C.3.; Securities Industry
22               Conference on Arbitration, List Selection Rule (Final Draft, Sept.
                 18, 1997) (proposed by SICA as modification to Section 8 of the
23               Uniform Code of Arbitration); Proposed Rule Change by National
24               Association of Securities Dealers, File No. SR-NASD097
                 (proposed by NASD as modification to Rules 10310 and 10311 of
25               the NASD Code of Arbitration Procedure). The concern was
                 expressed that the list selection approach may create a
26               financial tie between Neutrals in the pool and Providers, who
27               will be “repeat players” in the ADR Program. Such

28
                                              18
     Case 2:25-cv-01650-JJT       Document 1      Filed 05/15/25    Page 19 of 62




                   considerations may mandate, among other things, a larger
 1
                   panel of Neutrals, rotating assignments, or disclosure of past
 2                 awards rendered by arbitrators.
 3                 In the interest of informed selection, the Advisory Committee
 4                 recommends that parties be provided with or have access to
                   some information regarding recent ADR proceedings
 5                 conducted by prospective Neutrals. Cf. Employment Due
                   Process Protocol ‘ B.3 (recommending that parties be provided
 6
                   with names, addresses, and phone numbers of party
 7                 representatives in a prospective arbitrator’s six most recent
                   cases to aid in selection)…
 8
 9                 For selection of Neutrals, the Independent ADR Institution
                   might utilize a list procedure similar to that used by the AAA.
10                 The list of prospective Neutrals should include pertinent
                   biographical information, including the names of parties and
11
                   representatives involved in recent arbitration proceedings handled
12                 by the prospective Neutral. Cf. Employment Due Process Protocol
                   ‘B.3 (recommending that parties be provided with names,
13                 addresses, and phone numbers of party representatives in a
14                 prospective arbitrator’s six most recent cases to aid in selection).
                   Each party should be afforded discretion to reject any
15                 candidate with or without cause. Failing agreement on a
                   Neutral or panel of Neutrals in this fashion, the Neutral should
16
                   be appointed by the Independent ADR Institution, subject to
17                 objection for good cause.

18          Id. at 11 – 14 (emphasis added).
19          40.    It is important to note the AAA does NOT allow for the important
20   consumer protection of list selection in consumer arbitrations, while it does in all other
21   types of arbitration.
22          41.    However, it is recommended list selection be used in its consumer due
23   process protocols.
24          42.    Principle 4. Quality and Competence of Neutrals states, “All parties are
25   entitled to competent, qualified Neutrals. Independent ADR Institutions are responsible
26   for establishing and maintaining standards for Neutrals in ADR Programs they
27
28
                                                19
     Case 2:25-cv-01650-JJT       Document 1      Filed 05/15/25     Page 20 of 62




 1   administer.”
 2          43.     Further, the proposed new consumer rules for the AAA, attached as
 3   Exhibit 5, remove the right to a final hearing in front of the arbitrator for most cases by
 4   pegging the threshold to get a hearing at $50,000. See Exhibit 5, R. R-36, p. 17.
 5          44.     Because the AAA does now allow for discovery in consumer arbitration
 6   cases, the final hearing is often the only opportunity that consumers have to gather any
 7   evidence in the case. Without the final hearing, the AAA becomes a full-fledged
 8   kangaroo court where Plaintiffs receive no information, and there is no consequence for
 9   it.
10          45.     The “Reporters Comments” to Principle 4 states that,
11
                    Organizations providing ADR services for Consumer
12                  transactions should have a continuing obligation to monitor
                    the quality of the services they provide. This obligation requires
13                  that they establish and maintain standards for Neutrals within the
14                  program which are appropriate to the issues or disputes being
                    addressed. The SPIDR Commission on Qualifications calls
15                  upon private as well as public programs offering ADR services
                    to set and monitor program performance. See SPIDR
16
                    Principles, Principle 6, at 3-4. Likewise, the Standards for Court-
17                  Connected Programs call upon courts to “ensure that the mediation
                    programs to which they refer cases are monitored
18                  adequately…and evaluated [periodically].” Standards for Court-
19                  Connected Programs ‘ 6.0.

20                  The most critical element in ADR quality control is the
                    establishment and maintenance of standards of competence
21
                    for Neutrals within the program. “Competence” refers to “the
22                  acquisition of skills, knowledge and…other attributes” deemed
                    necessary to assist others in resolving disputes in a particular
23                  setting. See SPIDR Report on Qualifications at 6. In 1989, the
24                  SPIDR Commission on Qualifications published a list of
                    general skills and areas of knowledge that should be
25                  considered by groups establishing competency standards. See
                    SPIDR Principles, Principle 11, at 4-7.
26
27                  While ensuring the competence of Neutrals is always

28
                                                 20
     Case 2:25-cv-01650-JJT    Document 1      Filed 05/15/25    Page 21 of 62




                 important, it is particularly “critical in contexts where party
 1
                 choice over the process, program or neutral is limited” a
 2               reality of many Consumer ADR programs. See SPIDR Report
                 on Qualifications at 5; SPIDR Principles, Principle 3 at 2 (extent
 3               to which Neutral qualifications are mandated should vary by
 4               degree of choice parties have over dispute resolution process,
                 ADR Program, and Neutral). The SPIDR Commission on
 5               Qualifications requires private programs to, among other
                 things, establish clear criteria for the selection and evaluation
 6
                 of Neutrals and conduct periodic performance evaluations.
 7               SPIDR Principles at 3. See also SPIDR Report on Qualifications
                 at 6 (Neutrals, professional associations, programs and Consumers
 8               should all have responsibility for addressing and assessing Neutral
 9               performance); American Bar Ass’n Young Lawyers Div. &
                 Special Comm. On Alternative Means of Dispute Resolution,
10               Resolving Disputes: An Alternative Approach, A Handbook for
                 Establishment of Dispute Settlement Centers 32 (1983) (noting
11
                 importance of post-mediation evaluation by administering
12               agency).
13               The Advisory Committee concluded that it would be inappropriate
14               (and, probably, impossible) to set forth a set of universally
                 applicable qualifications for Neutrals in Consumer disputes. The
15               Advisory Committee’s conclusions parallel those of other groups
                 establishing broad standards for the conduct of ADR. See, e.g.,
16
                 SPIDR Report on Qualifications; SPIDR Principles at 1, 2. As the
17               SPIDR Commission on Qualifications determined, Neutral
                 qualifications are best established by joint efforts of concerned
18               “stakeholders” in specific contexts. See, e.g., Kaiser Permanente
19               Review and Recommendations 35-36 (recommending
                 involvement of advisory committee in development of arbitrator
20               qualifications).
21
                 It is important for Consumers to have a voice in establishing
22               and maintaining standards of competence and quality in ADR
                 programs. The SPIDR Commission on Qualifications recently
23               observed that “consumers…share a responsibility with
24               programs, [Neutrals]…and associations to join in evaluating
                 and reporting on the performance of [Neutrals]…and
25               programs and contributing to the development of policies and
                 standards on qualifications.” SPIDR Report on Qualifications,
26               ‘G.2. at 9. See also SPIDR Principles, Principle 2 at 2 (private
27               entities making judgments about neutral qualifications should be

28
                                             21
     Case 2:25-cv-01650-JJT    Document 1      Filed 05/15/25    Page 22 of 62




                 guided by groups that include representatives of consumers of
 1
                 services). Although Neutral expertise is traditionally a
 2               hallmark of arbitration, technical or professional experience
                 often carries with it the perception if not the reality of bias.
 3               From the Consumer’s perspective, therefore, an arbitrator who
 4               shares the professional or commercial background of a Provider
                 may not be the ideal judge. See, e.g., Broemmer v. Abortion Serv.
 5               of Phoenix, 840 P.2d 1013 (Ariz. 1992) (adhesion arbitration
                 agreement provided by abortion clinic which, among other things,
 6
                 required arbitrator to be a licensed obstetrician/gynecologist, was
 7               unenforceable as beyond reasonable expectations of patient).
 8               An Independent ADR Institution’s responsibility for the
 9               qualifications of Neutrals in a particular Consumer ADR
                 program dictates the development of an appropriate training
10               program. Ideally, the training should include a mentoring
                 program with experienced Neutrals as well as coverage of
11
                 applicable principles of Consumer law. See Mark E. Budnitz,
12               Arbitration of Disputes Between Consumers and Financial
                 Institutions: A Serious Threat to Consumer Protection, 10 Ohio St.
13               J. on Disp. Res. 267, 315 (arbitrators need special legal expertise
14               to address statutory issues respecting consumer claims against
                 financial institutions). Successful completion of such training
15               should be reflected in the information on prospective Neutrals
                 furnished to the parties prior to selection. Cf. Employment Due
16
                 Process Protocol ‘ C.2.
17
                 The Advisory Committee generally supports the concept of broad
18               choice in selection of Neutrals, and recognizes the right of
19               Consumers and Providers to jointly select any Neutral in whom
                 the parties have requisite trust, even one who does not possess all
20               of the qualifications recommended by an ADR Program. Cf.
                 Employment Due Process Protocol ‘C.1.; Standards for Court-
21
                 Connected Programs ‘13.4 (“Parties should have the widest
22               possible latitude in selecting mediators, consistent with public
                 policy.”). This assumes, of course, that both parties have a true
23               choice in the matter, that they are duly informed about the
24               background and qualifications of the Neutrals proposed, and
                 that all such Neutrals have made full disclosure of possible
25               conflicts of interest in accordance with Principle 3.
26               Elements of effective quality control include the establishment
27               of standards for Neutrals, the development of a training

28
                                             22
     Case 2:25-cv-01650-JJT         Document 1      Filed 05/15/25    Page 23 of 62




                     program, and a program of ongoing performance evaluation
 1
                     and feedback. Because the requirements of parties will vary
 2                   with the circumstances, it will be necessary to establish
                     standards for Neutrals in an ADR Program with due regard
 3                   for the specific needs of users of the program. As noted in
 4                   connection with Principle 3, a helpful model for program
                     administrators is the User Advisory Committee now being utilized
 5                   by the AAA to establish procedures and policies for ADR in the
                     areas of employment, construction, health care, and other
 6
                     transactional settings. Such entities could bring Consumer and
 7                   Provider representatives together to assist in the development
                     and implementation of programs to train, qualify and monitor
 8                   the performance of Neutrals.
 9
               Id. at 14-16 (emphasis added).
10
11             46.   Principle 6 deals with reasonable costs, and in the Reports Comments, it
12   states,
13
                     Some ADR Programs serving Consumers are staffed wholly or
14                   partly by unpaid volunteers. See, e.g., BBB Arbitration Rules at
                     2. The use of such programs, including community dispute
15                   resolution centers, may be a satisfactory means of addressing cost
16                   concerns associated with Consumer ADR, particularly in cases
                     involving low stakes. However, concerns have been expressed
17                   by some authorities regarding overdependence on volunteer
                     Neutrals. See Standards for Court-Connected Programs ‘13.1,
18
                     Commentary, at 13-2 (warning of dangers of exclusive reliance on
19                   volunteers in ADR programs). Care must be taken by those
                     responsible for overseeing such programs to make certain that
20                   lower cost does not come at the expense of adequately qualified
21                   Neutrals.

22             Id. at 19 (emphasis added).
23                                    RELEVANT MARKET
24             47.   “[I]t is a general and indisputable rule, that where there is a legal right,
25   there is also a legal remedy by suit or action at law, whenever that right is invaded.”
26   Marbury v. Madison, 5 U.S. 137, 163, 2 L. Ed. 60 (1803).
27             48.   The default venue for litigating disputes has traditionally been Article III
28
                                                  23
     Case 2:25-cv-01650-JJT         Document 1     Filed 05/15/25    Page 24 of 62




 1   courts and state courts of general jurisdiction.
 2          49.    However, contracting parties have utilized the Federal Arbitration Act to
 3   resolve disputes they have agreed to submit to arbitration.
 4          50.    Parties can form multiple levels of agreements concerning arbitration. At
 5   a basic level, parties can agree to send the merits of a dispute to an arbitrator. They can
 6   also agree by contract that an arbitrator, rather than a court, will resolve threshold
 7   arbitrability questions as well as underlying merits disputes. See Coinbase, Inc. v. Suski,
 8   144 S. Ct. 1186, 1192–93, 218 L. Ed. 2d 615 (2024).
 9          51.    Many consumer product services, such as credit cards, cell phones,
10   telecommunications, and credit reporting agencies, see infra and supra, opt to place a
11   provision requiring disputes be resolved by arbitration in their adhesion contracts.
12          52.    AAA has created a forum that allows companies to require, via adhesion
13   contracts, that consumers agree to unique “Consumer Rules” to arbitrate disputes that
14   arise in consumer contracts.
15          53.    Most credit cards, cell phones, all three major credit reporting agencies,
16   and most major telecommunications companies have designated AAA “Consumer
17   Rules” as the sole forum to arbitrate disputes that arise from the services provided and/or
18   any other dispute that arises between the consumer and the company.
19          54.    AAA is required by the law of several states to make consumer and
20   employment statistics available to the public.
21          55.    AAA had published previously such information on a quarterly basis to
22   its website until recently. https://www.adr.org/ConsumerArbitrationStatistics, last
23   visited March 17, 2025.
24          56.    As of the date of the filing of this Complaint, the data referenced in this
25   Complaint could no longer be accessed on its website via an obvious link.
26          57.    The website directs users to call “Statistics and In-House Research
27   Department at 877.495.4185.”
28
                                                 24
     Case 2:25-cv-01650-JJT        Document 1       Filed 05/15/25   Page 25 of 62




 1            58.   The phone number is not for statistics or in-house research. It is for
 2   website support.
 3            59.   Website support connects callers to an offshore call center that also was
 4   not statistics or in-house research and who advised to call customer support.
 5            60.   When the customer support number is called, there is no live person to
 6   answer the phone but rather an automated message system that suggests sending an
 7   email.
 8            61.   This lack of access via the website, including the run-around designed to
 9   get rid of inquiries, is oppositional to AAA’s duty to provide public access to the
10   statistics it is required to make available to the public.
11            62.   The allegations herein are based on the 2024 First Quarter consumer
12   reporting spreadsheets previously readily accessible as a link on the AAA website.
13            63.   Of the 103 most used credit card agreements, top five cellular company
14   contracts, by subscribers, and top six telecom provider agreements in North Carolina
15   and West Virginia, Plaintiff’s counsel could only identify three arbitration forums used.
16            64.   Those three companies are the AAA, JAMS, and National Arbitration and
17   Mediation (hereinafter NAM).
18            65.   AAA is the largest in consumer law, JAMS is the second largest, and
19   NAM is a distant third such that they do not have enough data to provide any statistics.
20            66.   The AAA has had 179,288 arbitrations filed with it since 2010, according
21   to                 its               spreadsheet                available              at
22   https://www.org/sites/default/files/document_repository/ConsumerReport_Q1_2024.xl
23   sx (accessed Aug. 14, 2024) (hereinafter referred to as AAA Spreadsheet).11
24
25   11
       . Attached as Exhibit 1 in PDF format, which may be difficult to read. The best format
26   is an Excel spreadsheet due to the sheer volume of data. However, AAA appeared to
     have removed this data from its site as an Excel spreadsheet. AAA has all such data
27   within its unique control.
28
                                                  25
     Case 2:25-cv-01650-JJT           Document 1    Filed 05/15/25   Page 26 of 62




 1          67.      Of the 179,288 AAA arbitrations on its spreadsheet, 150,358 are
 2   designated true consumer arbitrations (that is, not employment, real property, or
 3   construction, which would fall under different rules). See AAA Spreadsheet.
 4          68.      JAMS has had 23,593 arbitrations filed in its forum as stated on its
 5   spreadsheet     available   at    https://www.jamsadr.com/files/uploads/documents/jams-
 6   consumer-case-information.xlsx (accessed Aug. 14, 2024) (hereinafter referred to as
 7   JAMS Spreadsheet).12
 8          69.      Of the 23,593 JAMS arbitrations on its spreadsheet, 8,326 are listed as
 9   consumer arbitrations (that is, not employment, real property, or construction). See
10   JAMS Spreadsheet.
11          70.      NAM’s spreadsheet of consumer and employment arbitrations is available
12   at    https://www.namadr.com/content/uploads/2024/07/Website-CA-Disclosures-Q2-
13   2024-W.O.-NAM-ID-W.O.-CONSUMER-NAME.xls, (accessed Aug 16, 2024)
14   (hereinafter NAM Spreadsheet).13
15          71.      NAM’s spreadsheet contains only 93 consumer and employment
16   arbitrations that have been arbitrated with NAM.
17          72.      Of the 93 arbitrations on the NAM spreadsheet, 49 are listed as consumer
18   arbitrations (that is, not employment).
19          73.      NAM appears to have entered the market in 2019 and is not a particularly
20   important player.
21          74.      All three spreadsheets include both consumer and employment
22   arbitrations.
23
24
25   12
        Exhibit 2, attached as a PDF, would be best viewed in Excel spreadsheet format, which
26   JAMS has within its unique control.
     13
        Exhibit 3, attached as a PDF, would be best viewed in Excel spreadsheet format, which
27   NAM has within its unique control.
28
                                                   26
     Case 2:25-cv-01650-JJT        Document 1    Filed 05/15/25    Page 27 of 62




 1          75.    93 + 179,288 + 23,593 = 202,973 total arbitrations.14
 2          76.    When accounting solely for consumer arbitrations filed, AAA had
 3   150,358, JAMS had 8,326, and NAM had 49.
 4          77.    There were 158,733 consumer arbitrations identified by AAA, JAMS, and
 5   NAM.
 6          78.    Of the 158,733 consumer arbitrations in the US listed on the spreadsheet,
 7   the AAA comprises 94% of the arbitrations, JAMS 5%, and NAM comprises .0003%.
 8          79.    On a national level, consumers win only 27% of the time in the AAA, or
 9   1,264 of the 4,748 arbitrations on the AAA spreadsheet.
10          80.    That’s compared to a 40%-win rate at JAMS or 302 of 758 arbitrations.
11          81.    When filtered for consumer-filed arbitrations only, the consumer win rate
12   in the AAA jumps by 1% to 28% or 1,233 arbitrations out of 4,326.
13          82.    JAMS jumps by 2% to a 42%-win rate for consumer-initiated arbitrations
14   or 274 of 648 arbitrations.
15          83.    There is a breakdown in the competitive conditions in the marketplace of
16   consumer arbitrations.
17          84.    AAA receives 94% of all consumer arbitration filings yet has a bafflingly
18   low consumer win rate.
19          85.    AAA has priced itself so low that it prohibits market competitors from
20   offering comparable arbitration services to consumers.
21          86.    “A consumer deprived of money by reason of allegedly anticompetitive
22   conduct is injured in ‘property’ within the meaning of § 4 [of the Clayton Act.]” Reiter
23   v. Sonotone Corp., 442 U.S. 330, 344, 99 S. Ct. 2326, 2333, 60 L. Ed. 2d 931 (1979).
24          87.    The basic and underlying purposes of anti-trust laws are to preserve
25   competition and to protect the consumer.
26
     14
        The totals for pure consumer arbitrations are slightly lower for each forum and are
27   discussed in detail later in the complaint.
28
                                                27
     Case 2:25-cv-01650-JJT          Document 1    Filed 05/15/25     Page 28 of 62




 1          88.     Plaintiff is a consumer who has contracted with companies to resolve
 2   disputes via the AAA’s Consumer Rules arbitration forum.
 3          89.     Plaintiff has been directly injured by the lessening of competition due to
 4   AAA’s monopolistic practices.
 5          90.     Plaintiff seeks to forbid exclusivity—first on Plaintiff’s own behalf and
 6   implicitly on behalf of others.
 7          91.     Plaintiff seeks to destroy an anticompetitive arrangement.
 8          92.     Plaintiff has been deprived of money because of AAA’s anti-competitive
 9   conduct.
10          93.     Plaintiff can efficiently enforce the anti-monopoly laws.
11          94.     Plaintiff has been injured by being prevented from accessing competitors
12   in the consumer arbitration marketplace, which has led to demonstrably worse results
13   for their litigation.
14          95.     Plaintiff is an identifiable class of persons whose self-interest would
15   normally motivate them to vindicate the public interest in antitrust enforcement and
16   access to a competitive dispute resolution marketplace. AAA manipulates the consumer
17   arbitration market in which the Plaintiff is active.
18          96.     Plaintiff’s antitrust injury reflects the anticompetitive effect of the
19   violation or of anticompetitive acts made possible by the violation.
20          97.     Plaintiff’s injury is of the type the antitrust laws were intended to prevent
21   and directly results from the very conduct that makes AAA’s acts unlawful.
22          98.     “Under either statute, two prerequisites to recovery remain the same,
23   requiring a plaintiff seeking to establish competitive injury resulting from a rival's low
24   prices to prove that
25                  (1)      the prices complained of are below an appropriate measure of the
26                           rival's costs, and
27                  (2)      the rival has a reasonable prospect--or, under the Sherman Act, a
28
                                                  28
     Case 2:25-cv-01650-JJT        Document 1         Filed 05/15/25   Page 29 of 62




 1                          dangerous probability--of recouping the rival's investment in
 2                          below-cost prices.” Id.
 3          99.     “Primary-line competitive injury, as required under the price
 4   discrimination provisions of 2(a) of the Clayton Act as amended by the Robinson-
 5   Patman Act (15 USCS 13(a)), is of the same general character as the injury inflicted by
 6   predatory pricing schemes actionable under 2 of the Sherman Act (15 USCS 2)[.]”
 7   Brooke Grp. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 212, 113 S. Ct. 2578,
 8   2582 (1993)
 9          100.    AAA willfully acquired or maintained its market power through
10   anticompetitive conduct, rather than through legitimate means such as offering a
11   superior product, exercising business acumen, or by historical accident, in violation of
12   15 U.S.C. § 2 et seq
13          101.    AAA acted with the intent to prevent competitors from entering the
14   consumer arbitration market and was not merely the consequence of shutting out
15   competition
16          102.    The geographical market in this arbitration is defined as the United States
17   of America.
18                                       BACKGROUND
19   A.     The Structure of the American Arbitration Association v. JAMS
20          103.    The       AAA         consumer          rules      are      available    at
21   https://adr.org/sites/default/files/Consumer%20Rules.pdf. Exhibit 1.
22          104.    The AAA has a unique set of rules for consumers that is drastically more
23   restrictive in what it allows than the rules for other types of arbitrations.
24             i.   Arbitrator Selection
25          105.    The AAA consumer rules do not allow for any choice or strike list of
26   arbitrators.
27          106.    Consumers in the AAA are stuck with whatever arbitrator the AAA selects
28
                                                  29
     Case 2:25-cv-01650-JJT         Document 1      Filed 05/15/25     Page 30 of 62




 1   and cannot recuse them unless they can demonstrate a clear conflict.
 2          107.    The JAMS Rules allow for a strike list of arbitrators to be provided to
 3   consumers of at least five arbitrators. See JAMS Rule 15(b) available at
 4   https://www.jamsadr.com/rules-comprehensive-arbitration/#Rule-15 (accessed Aug.
 5   14, 2024). Exhibit 2.
 6          108.    JAMS utilizes arbitrators who, by and large, have judicial experience.
 7          109.    AAA utilizes arbitrators who, by and large, work for or are retired from
 8   corporate defense firms that are regularly averse to consumers.
 9          110.    Further, as seen in Exhibit 4, AAA’s Demographic Report Quarter 3,
10   2024, the AAA’s arbitrators are not representative of the population at large:
11                  A.       75.1% male.
12                  B.       96.7% with no disability.
13                  C.       85% white.
14          111.    The AAA’s refusal to provide a strike list violates principle 3 of their
15   Consumer Due Process Protocol.
16          112.    AAA does not provide a list of its neutrals or their resumes online; instead,
17   it has a page with broken links that do nothing. See The AAA National Roster of
18   Arbitrators and Mediators, available at https://www.adr.org/aaa-panel (accessed March
19   17, 2025).
20          113.    The reasons AAA offers for refusing to publish the roster of arbitrators
21   include, for example, that their database is proprietary and not made available to the
22   public; there are thousands of arbitrators in different areas of the law, where some
23   subjects are narrow with panels of few expert arbitrators and other panels are large; some
24   forced arbitration clauses provide the method for selection of arbitrators, while others
25   are          silent;        not         all         arbitrators       are         available.
26   https://www.adr.org/sites/default/files/document_repository/Why-the-AAAs-Roster-
27   of-Arbitrators-is-Not-Publicly-Available.pdf, last visited March 17, 2025.
28
                                                   30
     Case 2:25-cv-01650-JJT       Document 1      Filed 05/15/25    Page 31 of 62




 1          114.    This violates AAA’s Principles 1, 2, 3, 4, and 13 of the AAA’s Consumer
 2   Due Process Protocol.
 3          115.    JAMS provides all of its arbitrators with resumes online on an easy-to-use
 4   website.        See       Search        Neutral       Directory,       available        at
 5   https://www.jamsadr.com/neutrals/search (accessed March 17, 2025).
 6          116.    While Plaintiff can obtain the names of the neutrals for Arizona, West
 7   Virginia, Washington, and North Carolina from the AAA Statistics Spreadsheet,
 8   however, no resumes or other information is provided.
 9          117.    Some AAA arbitrators get assigned more arbitrations than others. The
10   AAA does not clearly disclose why or how arbitrators are selected in each case.
11          118.    This violates AAA’s Principles 1, 2, 3, 4, and 13 of the AAA’s Consumer
12   Due Process Protocol.
13          119.    JAMS’ process is based on a geographical region (typically several states)
14   and uses a strike list.
15          120.    Upon information and belief, AAA takes no action to recruit neutrals who
16   work on behalf of consumers into its neutrals list.
17          121.    AAA’s rules regarding arbitrator selection are far outside the norm for
18   arbitrator selection in other rules for private arbitrations both within the AAA and with
19   other providers.
20          122.    As a result of the Defendant’s actions, the Plaintiff was harmed by having
21   no choice of forum and no choice of arbitrator.
22          123.    Further, the proposed updated consumer rules issued by the AAA remove
23   the ability for consumers with arbitration values of $50,000 to get a final hearing. Cases
24   below that amount go to a “desk arbitration.”
25          124.    Because the AAA does not allow discovery in consumer cases, the new
26   rules effectively deny consumers access to discovery, leaving the final hearing as often
27   their only opportunity to develop the record.
28
                                                31
     Case 2:25-cv-01650-JJT              Document 1     Filed 05/15/25    Page 32 of 62




 1          125.           This change strengthens the AAA’s monopoly power by now being the
 2   forum where, in the vast majority of consumer arbitrations, consumers do not even
 3   receive a hearing. Other forums can only compete by stripping consumers’ rights to a
 4   hearing.
 5              ii.        Rules Regarding Discovery
 6          126.           The AAA Consumer Rules do not provide for any discovery by
 7   consumers.
 8          127.           The AAA Consumer Rules do not allow for any depositions by
 9   consumers.
10          128.           AAA arbitrators routinely advise consumers that they are not entitled to
11   any discovery or depositions.
12          129.           JAMS rules allow discovery and depositions, and JAMS arbitrators
13   routinely allow full discovery. Exhibit 2, Rule 17.
14          130.           The AAA Consumer rules currently provide for a hearing, with dispositive
15   motions permitted only on the condition that a party has shown substantial cause.
16   Exhibit 2, Rule 33.
17          131.           AAA has proposed changing the rules to permit dispositive motions that
18   would eliminate or severely curtail consumer ability to have a full and fair evidentiary
19   hearing, especially when there may be no or limited discovery.
20          132.           This proposed change, among many others, would create an unfair
21   advantage against consumers in favor of corporate defendants with unique and sole
22   possession of evidence consumers need to prove their cases.
23          iii.           Fees and Costs of Arbitration
24          133.           The AAA lists some of its fees and costs under the consumer rules
25   available        at     https://www.adr.org/sites/default/files/Consumer_Fee_Schedule_2.pdf
26   (accessed March 17, 2025) (hereinafter AAA Consumer Fee Schedule).
27          134.           Under its 2023 Fee Schedule, the AAA charged consumers $225 to file a
28
                                                      32
     Case 2:25-cv-01650-JJT         Document 1    Filed 05/15/25   Page 33 of 62




 1   demand.
 2          135.   JAMS charges consumers $250 to file a demand.
 3          136.   Although the filing fees for the consumer are similar, the fees for the
 4   business drastically differ.
 5          137.   The AAA’s consumer rules require an arbitration management fee of
 6   $1,400, which the business pays.
 7          138.   The AAA, during most of the class period, charged a flat rate of $2,500
 8   for arbitrator compensation, including one day of hearings, the final award (regardless
 9   of how many hours it took to write), and a preliminary scheduling conference with the
10   arbitrator.
11          139.   If the arbitration extended into a second day of hearings, the arbitrator
12   would receive another $2,500 per day; however, upon information and belief, multiday
13   hearings are rare in consumer hearings.
14          140.   The AAA rules stated that the business pays for arbitrations with multiple
15   telephone conferences, motions practice, post-hearing briefings, interim awards, partial
16   awards, and, most importantly, awards containing findings of fact and conclusions of
17   law outside of the $2,500 fee.
18          141.   The AAA recently replaced the flat fee system with a $300 per hour rate.
19   This was not intended to increase the compensation for arbitrators because the rates are
20   still significantly below the standard.
21          142.   It actually results in lower pay for arbitrators because most cases settle
22   quickly.
23          143.   The primary intention behind this change was to reduce costs for
24   businesses involved in mass arbitrations, with no intention of benefiting consumers,
25   improve fairness, or to attract more competent arbitrators.
26          144.   The original flat fee of $1,250 represented nearly four hours of work at a
27   rate of $300 an hour. Since most arbitrations settle quickly, this is a pay cut in most
28
                                                 33
     Case 2:25-cv-01650-JJT        Document 1     Filed 05/15/25     Page 34 of 62




 1   cases.
 2            145.   Further, the reduced rate of $300 forces competitors and individuals
 3   wishing to enter the arbitration market to lower their rate from the current market rate,
 4   upon information and belief, around $600, to be competitive or leave the market
 5   altogether.
 6            146.   The $300 hourly cap on arbitrator compensation is unfair to consumers
 7   because it discourages competent arbitrators from becoming AAA arbitrators and taking
 8   consumer cases.
 9            147.   Consumers do not benefit from the $300 an hour cap on arbitrator
10   compensation in any way, shape, or form.
11            148.   However, the rules also state “Any determination by the AAA on whether
12   the business will be responsible for additional arbitrator compensation is in the sole
13   discretion of the AAA and such decision is final and binding.”
14            149.   Upon information and belief, the AAA actively discourages and routinely
15   does not require businesses to pay the arbitrator for additional services.
16            150.   AAA Consumer Rules significantly disincentivize arbitrators from
17   spending time and attention on consumer filings because their compensation is fixed
18   regardless of the amount of work performed.
19            151.   This violates principles 1, 2, 3, and 4 of the consumer due process
20   principles. Principle 4 explicitly warns in its comments about under-funding neutrals
21   and the risks involved.
22            152.   JAMS publicly discloses the consumer arbitration fees on its website.
23            153.   The average JAMS arbitrator fee for arbitration that went to a judgment
24   of some kind (excluding employment and construction arbitrations) is $12,949 going
25   back to 2012.
26            154.   Upon information and belief, the current average arbitrator deposit
27   required by JAMS of businesses at the start of litigation is between $15,000 and $20,000
28
                                                 34
     Case 2:25-cv-01650-JJT        Document 1        Filed 05/15/25   Page 35 of 62




 1   per arbitration.
 2          155.   The arbitrator deposit during the bulk of the class period in the AAA is
 3   half the $2,500 daily fee.
 4          156.   Recently, that was reduced to just the arbitrator’s rate of $300 an hour,
 5   which means the arbitrator can earn almost nothing if the case settles.
 6          157.   Upon information and belief, no arbitrator deposit is required, and unlike
 7   most other forums, like JAMS, the arbitrator can earn nothing if he works no time on
 8   the file due to a quick settlement.
 9          158.   The practice of underpaying arbitrators continues in a different form in the
10   new capped $300 an hour rate.
11          159.   Upon information and belief, the AAA arbitrator deposit is approximately
12   10% of the typical deposit at JAMS.
13          160.   The AAA only limits arbitrator fees under its Consumer Rules.
14          161.   AAA does not limit arbitrator fees in employment, labor, healthcare,
15   construction, or other types of arbitrations.
16                 A.     AAA Employment Rules: “Arbitrator compensation is not
17                        included as part of the administrative fees charged by the AAA.
18                        Arbitrator compensation is based on the most recent biography sent
19                        to the parties prior to appointment. The company shall pay the
20                        arbitrator’s compensation unless the individual, post dispute,
21                        voluntarily elects to pay a portion of the arbitrator’s compensation.
22                        Arbitrator compensation, expenses, and administrative fees are not
23                        subject to reallocation by the arbitrator(s) except upon the
24                        arbitrator’s determination that a claim or counterclaim was filed for
25                        purposes of harassment or is patently frivolous.” Available at
26                        https://go.adr.org/employmentfeeschedule (Accessed Aug 18,
27                        2024).
28
                                                 35
     Case 2:25-cv-01650-JJT       Document 1     Filed 05/15/25       Page 36 of 62




 1                B.    AAA Construction Rules: “For both schedules, administrative fees
 2                      are based on the amount of the claim or counterclaim and are to be
 3                      paid by the party bringing the claim or counterclaim at the time the
 4                      demand or claim is filed with the AAA. Arbitrator compensation
 5                      is not included in either schedule. Unless the parties’ agreement
 6                      provides otherwise, arbitrator compensation and administrative
 7                      fees are subject to allocation by an arbitrator in an award.”
 8                      (emphasis          in             original)           Available      at
 9                      https://go.adr.org/constructionfeeschedule (accessed Aug 18,
10                      2024).
11                C.    Labor Rules: “Unless mutually agreed otherwise, the arbitrator’s
12                      compensation shall be borne equally by the parties, in accordance
13                      with the fee structure disclosed in the arbitrator’s biographical
14                      profile     submitted        to    the    parties.”      Available   at,
15                      https://www.adr.org/sites/default/files/Labor_Arbitration_Fee_Sc
16                      hedule_0.pdf (accessed March 17, 2025).
17                D.    Commercial Arbitrations: For both schedules, administrative fees
18                      are based on the amount of the claim or counterclaim and are to be
19                      paid by the party bringing the claim or counterclaim at the time the
20                      demand or claim is filed with the AAA. Arbitrator compensation
21                      is not included in either schedule. Unless the parties’ agreement
22                      provides otherwise, arbitrator compensation and administrative
23                      fees are subject to allocation by an arbitrator in an award. Available
24                      at,
25                      https://www.adr.org/sites/default/files/Commercial_Arbitration_F
26                      ee_Schedule_1.pdf (accessed march 17, 2025).
27         162.   The AAA limits consumer arbitrator compensation to obtain an unfair
28
                                                36
     Case 2:25-cv-01650-JJT        Document 1      Filed 05/15/25     Page 37 of 62




 1   advantage in the consumer arbitration market.
 2          163.   Limiting arbitrators’ compensation, as in the AAA Consumer Rules, is not
 3   a typical practice in the industry.
 4          164.   JAMS compensates arbitrators on an hourly basis.
 5          165.   It is not a typical practice within AAA to cap arbitrator compensation for
 6   anything except consumer arbitrations.
 7          166.   AAA’s other areas (employment, construction, labor, etc.) compensate
 8   arbitrators hourly without caps.
 9          167.   JAMS does not put their arbitrators’ fee amounts online but states on their
10   webpage that arbitrators are paid their hourly rate as set by the arbitrator. See Arbitration
11   Schedule of Fees and Costs, available at https://www.jamsadr.com/arbitration-fees,
12   (accessed March 17, 2025).
13          168.   Further, in all of the areas (rules) in which the AAA accepts arbitrations
14   (employment, construction, labor, etc.), the AAA allows arbitration strikes, access to
15   discovery, and depositions in most arbitrations.
16          169.   The AAA has elected to make only its Consumer Rules far outside
17   industry norms of arbitration rules and arbitrator compensation to corner the market on
18   consumer arbitrations.
19          170.   As a result of Defendant’s anticompetitive actions, Defendant has been
20   unjustly enriched to tens and possibly hundreds of millions of dollars.
21          171.   As a result of the Defendant’s anticompetitive rules, which are outside the
22   norm for both other types of arbitration accepted by the AAA and the rules at other
23   forums, the Defendant has gained an unfair advantage and a monopoly in the area of
24   consumer arbitrations by creating rules that prevent consumers from being able to
25   adjudicate their rights.
26
     B.     Consumer Arbitration Outcomes at the American Arbitration Association
27          and JAMS
28
                                                  37
     Case 2:25-cv-01650-JJT         Document 1     Filed 05/15/25     Page 38 of 62




 1          172.     The Plaintiff’s complaint only concerns consumer arbitrations, not
 2   employment or construction arbitrations, which fall under different rules at the AAA.
 3          173.     AAA arbitration statistics only go back to approximately January 2017.
 4   Ex. 1, AAA Spreadsheet.
 5          174.     JAMS arbitration statistics have consumer and employment arbitration
 6   data going back to May of 2012. Ex. 2, JAMS Spreadsheet.
 7          175.     Unless indicated otherwise, the data below is only for arbitrations that
 8   went to the final hearing and not the tens of thousands of arbitrations filed in arbitration
 9   but settled before a final hearing.
10          176.     The data below does not include the untold number of matters that were
11   never filed due to the chilling effect of the AAA Consumer Rules and outcomes.
12          177.     The AAA statistics spreadsheet has 179,252 total arbitrations on it.
13          178.     The JAMS spreadsheet, which includes five additional years, has 23,592
14   arbitrations.
15          179.     This means that the AAA accounts for approximately 87% of the filed
16   arbitrations between the two, while JAMS accounts for 13%. These numbers are not
17   filtering out employment and construction cases yet; this is just all arbitrations generally.
18          180.     Upon information and belief, the reason for this disparity is the vast
19   majority of consumer arbitration agreements provide for no choice of forum and require
20   consumers to use the AAA only.
21          181.     On a national level, consumers win only 27% of the time in the AAA, or
22   1,264 of 4,748 arbitrations.
23          182.     That’s compared to a 40%-win rate at JAMS or 302 of 758 arbitrations.
24          183.     When filtered for consumer-filed arbitrations only, the AAA's consumer
25   win rate jumps by 1% to 28% or 1,233 arbitrations out of 4,326.
26          184.     JAMS jumps by 2% further to a 42%-win rate for consumer-initiated
27   arbitrations or 274 of 648 arbitrations.
28
                                                  38
     Case 2:25-cv-01650-JJT         Document 1      Filed 05/15/25   Page 39 of 62




 1            185.    In the seven years of data available, consumers won approximately 21%
 2   of the time in Arizona AAA arbitrations or 15 of the 72 consumer arbitrations that went
 3   to a final hearing.
 4            186.    In the twelve years of data available, consumers won in Arizona JAMS
 5   arbitrations approximately 38% of the time, or 3 of the 8 arbitrations that went to a final
 6   hearing. However, this is likely not a large enough sample to provide significant data.
 7            187.    Upon information and belief, the reason there are so few JAMS
 8   arbitrations in Arizona because of the AAA monopoly.
 9            188.    In the seven years of data available, consumers won approximately 27%
10   of the time in North Carolina AAA arbitrations, or 96 of 252 arbitrations that went to a
11   final hearing.
12            189.    In the twelve years of data available, consumers won in North Carolina
13   JAMS arbitrations approximately 66% of the time or 88 of 133 arbitrations.
14            190.    In the seven years of data available, consumers won in West Virginia
15   AAA arbitrations 11% of the time or 4 of 34 arbitrations.
16            191.    There are so few JAMS West Virginia arbitrations that win rate data is
17   unavailable. Only one arbitration of the fifteen filings went to a hearing, and the
18   consumer lost.
19            192.    Consumers in Washington State win at an average 42% of the time in the
20   AAA. This beats the national average of 27%.
21            193.    However, consumers in JAMS in Washington State win 66% of their
22   cases.
23            194.    The consumer initiated all of the West Virginia arbitrations discussed
24   above.
25            195.    In all the awards to consumers in the 252 AAA arbitrations that went to a
26   final hearing in North Carolina, consumers were awarded an aggregate total of
27   $1,542,724. However, that number is skewed by a few significant awards. The average
28
                                                  39
     Case 2:25-cv-01650-JJT        Document 1     Filed 05/15/25    Page 40 of 62




 1   is $16,070 per arbitration won, with a median of $12,042.
 2          196.   JAMS, on the other hand, has awarded $2,730,654 to North Carolina
 3   consumers in over half as many arbitrations (133), with an average award of $31,030
 4   per arbitration taken to a final hearing.
 5          197.   The AAA in West Virginia has awarded consumers a paltry$5,915 over
 6   the 34 arbitrations tried to a final hearing with a median award of $1,506.50.
 7          198.   Consumers only won 4 of the 34 arbitrations consumers filed in the AAA
 8   in West Virginia.
 9          199.   Of consumer-filed arbitrations in West Virginia, businesses were
10   awarded $60,840.
11          200.   Businesses defending arbitrations filed against them in the AAA in West
12   Virginia were awarded ten times the amount awarded to West Virginia consumers who
13   brought the claims.
14          201.   Upon information and belief, the AAA in West Virginia is punitive to
15   consumers instead of providing justice.
16          202.   Upon information and belief, the AAA fails to monitor the quality of its
17   arbiter panels and their results as required by Principle 4 of the AAA’s Consumer
18   Arbitration Due Process Protocols.
19          203.   Some “frequent fliers” enjoy even greater rates of success.
20          204.   T-Mobile has had 2,616 consumer arbitrations filed against it in the AAA
21   by consumers, nationally.
22          205.   Of the 2,616 arbitrations consumers filed against T-Mobile, 103 went to
23   final judgment, and T-Mobile won 89 for an enviable 86%-win rate.
24          206.   Other frequent fliers enjoy similar enviable win rates on consumer-filed
25   arbitrations on a national level.
26                 A.      AT&T appears with 2,844 on the AAA arbitration spreadsheet. Of
27
28
                                                 40
     Case 2:25-cv-01650-JJT       Document 1        Filed 05/15/25   Page 41 of 62




 1                        those 2,844, 261 went to a final judgment.15 Of the 253 arbitrations
 2                        that were not a “consumer/business” win, AT&T won 216. That’s
 3                        an 85%-win rate for AT&T and a 15%-win rate for consumers and
 4                        remarkably similar to T-Mobile's success in arbitration.
 5                 B.     Citibank, N.A., appears with 818 arbitrations in the AAA filed
 6                        against it, of which 65 went to a final judgment. The bank won in
 7                        53 of those arbitrations, or 81% of the time, while consumers won
 8                        19% of the time.
 9                 C.     c. Verizon appears with 1075 AAA arbitrations filed by consumers,
10                        of which 161 went to trial. Of those 161 arbitrations, Verizon won
11                        140, or 86%. Consumers won 14%, and a pattern is starting to
12                        emerge.
13                 D.     Experian, the credit reporting agency, totals 12 consumer cases that
14                        went to final hearing in the AAA out of 162 arbitrations filed and
15                        has a 100%-win rate.
16          207.   Under the AAA employment rules, the AAA has handled 19,484
17   arbitrations, according to its spreadsheet.
18          208.   The AAA uses different rules for employment arbitrations, which include
19   arbitrator strikes, arbitrators are paid a reasonable amount, and rules will allow for some
20   discovery.
21          209.   Of the 1,303 employment arbitrations on the AAA spreadsheet that went
22   to a final judgment, the employee was given an award in 633 arbitrations at the national
23   level. While still low, that represents a 49%-win rate for employees or nearly triple the
24
     15
        Eight of the cases are listed as both the consumer and business winning, however, that
25   is misleading. In only two of those cases was the consumer awarded more than the
26   business, one for $1,500 and one for $48. In the other three cases, consumers were
     awarded between two and three-figure judgments. AT&T was awarded 5 figure
27   judgments in all of them.
28
                                                   41
     Case 2:25-cv-01650-JJT        Document 1      Filed 05/15/25   Page 42 of 62




 1   win rate of consumers in cell phone arbitrations against T-Mobile, AT&T, and Verizon,
 2   where there are no strikes, discovery, and inadequate arbitrator compensation.
 3          210.     Upon information and belief, the high business win rate is because of the
 4   low arbitrator compensation, the use of nearly exclusively corporate defense attorneys
 5   as arbitrators, and restrictive rules, which is the reason for the meager 27% national win
 6   rate by consumers.
 7          211.     As demonstrated above, because Defendant abuses its monopoly power,
 8   consumers are harmed by the lack of choice in the area of consumer arbitration forum
 9   in forum selection clauses, in the rules that apply in those closes, and the rights and
10   remedies available.
11   C.     AAA as a Monopoly
12          212.     Plaintiff’s complaint only concerns itself with consumer arbitrations and
13   not employment or construction arbitrations which fall under different rules at the AAA.
14          213.     Based on the companies’ data sheets online, the AAA has approximately
15   88%, JAMS has 12%, and NAM has a .0005% market share in arbitrations, which
16   includes the consumer and employment arbitration market.
17          214.     Of the 179,288 AAA arbitrations on its spreadsheet, 150,358 are
18   designated true consumer arbitrations (that is, not employment, real property,
19   or construction, which would fall under different rules). See AAA Spreadsheet attached
20   as Exhibit 1.
21          215.     Of the 25,593 JAMS arbitrations on its spreadsheet, 8,326 are listed as
22   consumer arbitrations (that is, not employment, real property, or construction). Ex. 2,
23   JAMS Spreadsheet.
24          216.     Of the 93 arbitrations on the NAM spreadsheet, 49 are listed as consumer
25   arbitrations (that is, not employment). Ex. 3, NAM spreadsheet.
26          217.     150,358 + 8,326 + 49 = 158,733 arbitrations.
27          218.     Of the 158,733 consumer arbitrations in the US listed on the spreadsheet,
28
                                                 42
     Case 2:25-cv-01650-JJT        Document 1     Filed 05/15/25   Page 43 of 62




 1   the AAA has 94% of the arbitrations, JAMS has 5%, and NAM has .0003%.
 2            219.   The AAA sets consumer arbitration rates so low that no other forum can
 3   compete against them.
 4            220.   The AAA sets consumer arbitration rates so low that only corporate
 5   defense counsel with large firm sponsorship or retired attorneys can afford to be
 6   arbitrators.
 7            221.   Consumer protection advocates cannot afford to divert resources from
 8   their practices to work as AAA arbitrators when the compensation rates are so low and
 9   capped.
10            222.   The AAA sets arbitrator compensation rates at approximately 10% of the
11   cost of private consumer arbitration in other forums to stifle competition and to create
12   and perpetuate a monopoly.
13            223.   Plaintiff examined 103 credit card agreements prior to filing and 61 of
14   those agreements chose only the AAA as the forum.16 Those agreements were in these
15   cards:
16                   •     Comenity Capital Bank - Academy Sports
                     •     Comenity Capital Bank - AAA
17                   •     Comenity Capital Bank - All Pets
18                   •     Comenity Capital Bank - Big Lots
                     •     Comenity Capital Bank - Boot Barn
19                   •     Comenity Capital Bank - Burlington
                     •     Comenity Capital Bank - Cosmo
20
                     •     Comenity Capital Bank - Forever21
21                   •     Comenity Capital Bank - Game Stop
                     •     Comenity Capital Bank - Harley Davidson
22
                     •     Comenity Capital Bank - Ikea
23                   •     Comenity Capital Bank - Land's End
                     •     Comenity Capital Bank - Petco
24
                     •     Comenity Capital Bank - Ross
25
26
     16
       Plaintiff utilized the Consumer Financial Protection Bureaus’ Credit Card Agreement
     Database, available at https://www.consumerfinance.gov/credit-cards/agreements/
27   (accessed Aug. 18, 2024).
28
                                                43
     Case 2:25-cv-01650-JJT   Document 1    Filed 05/15/25   Page 44 of 62




 1               •     Comenity Capital Bank - Sephora
                 •     Comenity Capital Bank - Toyota Rewards
 2               •     Comenity Capital Bank - Ulta
 3               •     Comenity Capital Bank - Zales
                 •     1st United Credit Union
 4               •     Ally Credit Card
                 •     Barclays Bank Delaware
 5
                 •     Celtic Bank Corp
 6               •     CitiBank - Aadvantage
                 •     CitiBank - Aadvantage
 7
                 •     CitiBank - AT&T
 8               •     CitiBank -Best Buy
                 •     CitiBank - Bloomingdales
 9
                 •     CitiBank - Brooks Brothers
10               •     CitiBank - Citi Custom Cash
                 •     ALL CITIBANK CARDS
11
                 •     Coastal Community Bank
12               •     Comenity Bank - Ann Taylor
                 •     Comenity Bank - Arhaus
13
                 •     Comenity Bank - Avenue
14               •     Comenity Bank - Bealls
                 •     Comenity Bank - Brylane
15
                 •     Comenity Bank - Buckle
16               •     Comenity Bank - Caesars
                 •     Comenity Bank - Catherines
17
                 •     Comenity Bank - Eddie Bauer
18               •     Comenity Bank - Express
                 •     Comenity Bank - J. Crew
19
                 •     Comenity Bank - Jared
20               •     Comenity Bank KingSize Credit Card
                 •     Comenity Bank - PlayStation
21
                 •     Comenity Bank - Sportsman's Guide Buyers Club
22               •     Comenity Bank - Talbots
                 •     Comenity Bank - Victoria's Secret
23               •     Credit One, N.A.
24               •     Discover Bank
                 •     Farm Bureau Bank, FSB
25               •     First National Bank of Omaha - Platinum
26               •     First National Bank of Omaha - Green Light Family Cash Card
                 •     First National Bank of Omaha - Sheetz
27
28
                                           44
     Case 2:25-cv-01650-JJT      Document 1     Filed 05/15/25     Page 45 of 62




 1                •      Goldman Sachs - Apple Card
                  •      HSBC Bank USA, N.A. - Elite Card
 2                •      HSBC Bank USA, N.A. - Premier Card
 3                •      SoFi Bank, N.A.
                  •      Truliant Federal Credit Union
 4                •      USAA
                  •      Wells Fargo
 5
           224.   Of the top five cellphone providers in the United States by subscriber
 6
     numbers, all five allow only the AAA as the arbitration forum available to them. Those
 7
     companies are:
 8
                  •      AT&T
 9                •      Verizon
                  •      T-Mobile
10
                  •      US Cellular
11                •      Boost Mobile
12         225.   Of the top eight internet providers in North Carolina and West Virginia,
13   seven allow for only the AAA in their terms of service:
                  •      Windstream
14
                  •      Frontier Communications
15                •      Spectrum
                  •      Google Fiber
16
                  •      ATT Fiber
17                •      Verizon Home Internet
                  •      T-Mobile Home Internet
18
                  •      Optimum Internet
19                •      Starlink
20         226.   Of the three major credit reporting agencies in the United States, all of

21   them required the use of the AAA only for disputes.
                  •      Experian
22
                  •      Equifax
23                •      TransUnion
24         227.   These corporations and countless others, looking to minimize the costs of

25   arbitration, have chosen the AAA as the only forum available to consumers in their

26   arbitration agreements for the majority of consumer agreements in America.

27         228.   Of the 126 terms of services and contracts Plaintiff surveyed before filing

28
                                               45
     Case 2:25-cv-01650-JJT       Document 1      Filed 05/15/25       Page 46 of 62




 1   this arbitration, 81 required all disputes to go the AAA only without a choice to
 2   consumers.
 3          229.   This represents 63% of all contracts surveyed but is a much higher
 4   percentage in some industries, including 100% in cell phone contracts surveyed, 100%
 5   of credit reporting agencies, 89% of telecoms, 80% of payment apps, and 59% of credit
 6   card agreements17.
 7          230.   The AAA does not offer a neutral arbitration service but instead has rules
 8   that provide consumers with no choice of arbitrator, no discovery, no depositions, and
 9   no appeal.
10          231.   These limitations are outside the industry norm for arbitration and create
11   a forum that is not neutral. In fact, according to the AAA’s own spreadsheet, most
12   consumers lose the arbitrations: 79% in Arizona, 89% in West Virginia, 73% in North
13   Carolina, and 58% in Washington.
14          232.   Nationally, consumers also lose 73% of consumer arbitrations in the
15   AAA.
16          233.   Further, by paying arbitrators paltry flat-rate sums and not ensuring that
17   arbitrators will be paid for reviewing discovery, preparing findings of facts and
18   conclusions of law, and other litigation, the AAA has ensured that arbitrators do not
19   spend much time on arbitrations and fully consider all the facts in violates of principles
20   1, 3, and 4 of the AAA’s Consumer Due Process Protocol.
21          234.   The comments to Principle 4 of the AAA’s Consumer Due Process
22   Protocol explicitly warn of the risks of underfunding arbiters.
23          235.   Further, the AAA offers various tools on its website to create arbitration
24
25   17
       Very few companies do not have arbitration agreements that Plaintiff could find.
26   Those that do include Capital One, TD Bank, Facebook, etc. However, this complaint is
     not interested in companies that choose not to use arbitration services because they are
27   not subject to AAA’s monopolistic role.
28
                                                46
     Case 2:25-cv-01650-JJT        Document 1      Filed 05/15/25   Page 47 of 62




 1   clauses that select only the AAA as the arbitral forum for all disputes, including an AI
 2   Tool and sample arbitration clauses. See AAA-ICDR Clause Drafting, available at
 3   https://www.adr.org/Clauses, last visited March 17, 2025.
 4          236.   The effect of the AAA’s anticompetitive conduct is that no forum can
 5   compete in price and still offer a neutral arbitration.
 6          237.   As a result of the AAA’s anticompetitive practices in its consumer
 7   arbitration rules, all contract holders with an AAA-only clause are limited in their
 8   choices.
 9          238.   Further, because of the AAA’s extremely poor success rates for
10   consumers, businesses use the threat of going to the AAA in consumer arbitrations to
11   force low settlements. The AAA website states that consumers lose the vast majority of
12   arbitrations. See AAA Spreadsheet attached as Exhibit 1.
13          239.   As a result of the defendant's conduct, companies that wish to start or
14   maintain neutral consumer arbitration forums are unable to do so because they cannot
15   compete with the AAA’s anti-competitive pricing and unfair rules while still providing
16   a neutral forum.
17          240.   The AAA retains predominantly retired or currently practicing corporate
18   defense counsels who are willing to work for a fraction of the cost of their counterpart
19   neutrals hired into ADR providers such as JAMS.
20          241.   JAMS neutrals in North Carolina are comprised of 57% retired judges.
21          242.   In the AAA, however, the lion’s share of North Carolina neutrals, 67%,
22   are hired from various facets of corporate defense, and only 9% have experience as
23   judges. Only approximately 12% of North Carolina AAA neutrals have consumer
24   protection experience of any kind and they are rarely selected as neutrals.
25          243.   Upon information and belief, a few experienced retired judges and/or
26   experienced attorneys would adjudicate a complex consumer arbitration for a measly
27   $1,250 or as much as $2,500 when they could get an average of $27,315.51 in JAMS
28
                                                 47
     Case 2:25-cv-01650-JJT        Document 1      Filed 05/15/25    Page 48 of 62




 1   for consumer cases that went to a final hearing on an average case and $5,572.33 for
 2   settled cases. See JAMS Spreadsheet.
 3          244.     Further, it is unfair to cap consumer arbitrators at $300 per hour, as was
 4   started in January of 2024, when other forums allow arbitrators to charge their hourly
 5   rate with a normal midpoint rate of approximately $600 an hour.
 6          245.     This conduct of hiring predominantly corporate defense lawyers as
 7   arbiters violates principles 1, 2, 3, and 4 of the AAA’s Consumer Due Process Protocol.
 8          246.     The average arbitrator compensation in JAMS for settled consumer cases
 9   (cases that were settled prior to the arbitrator's decision) is $5,572.33 and $27,315.51
10   for consumer cases that went to a final hearing and judgment. See the JAMS
11   spreadsheet.
12          247.     In the AAA, arbitrators, until January 2024, were capped at $1,250 in
13   consumer cases that settle, representing only half of the $2,500 single-day hearing fee.
14          248.     In the past year, that cap has changed to $300 an hour for arbitrators in
15   consumer cases only, which is, upon information and belief, far below the market rate
16   and intended to maintain the AAA’s artificially low-cost advantage in consumer
17   arbitrations.
18          249.     In most cases,both the AAA and JAMS settle.
19          250.     Upon information and belief, $1,250 per case was too low to attract
20   talented and skilled arbiters and discourages arbitrators from learning about the case.
21          251.     Upon information and belief, $300 per hour is too low to attract talented
22   and skilled arbiters and discourages arbitrators from learning about the case.
23          252.     Upon information and belief, the $1,250 the AAA paid consumer arbiters
24   until January of 2024 discouraged arbitrators from reading pleadings, doing research,
25   learning the law surrounding the case, or otherwise doing their job.
26          253.     Upon information and belief, the $300 per hour the AAA pays to
27   consumer arbiters after January of 2024 continues to discourage arbitrators from reading
28
                                                 48
     Case 2:25-cv-01650-JJT        Document 1      Filed 05/15/25     Page 49 of 62




 1   pleadings, doing research, learning the law surrounding the case, or otherwise doing
 2   their job.
 3          254.   This conduct of underpaying arbiters is explicitly warned against in
 4   Principle 4 of AAA’s Consumer Arbitration Due Process Protocol.
 5          255.   Further, the $1,250 in compensation that the AAA caped arbitrators at,
 6   during most of the class period, for settled consumer cases is vastly below the norm for
 7   consumer arbitrations in other forums and in other types of arbitrations handled by the
 8   AAA.
 9          256.   Upon information and belief, the $300 an hour in compensation that the
10   AAA caps arbitrators at during the past year is vastly below the norm for consumer
11   arbitrations in other forums and in other types of arbitrations handled by the AAA.
12          257.   The Defendant defines the product of consumer arbitration in its AAA
13   Consumer Due Process Protocol and establishes what the basic “minimum” due process
14   standards of the consumer arbitration product. However, the AAA flagrantly violates
15   these standards in order to produce an unfair forum that is far from neutral and
16   undermines the competition that is trying to provide a neutral arbitration forum.
17          258.   As a result of the Defendant’s anticompetitive actions, consumers are
18   harmed in that their choices of available forums are limited, the choice of rules are
19   limited, and they are stuck with choosing a forum where they will typically lose their
20   arbitration, with no say in even what arbitrator is selected in their arbitration.
21          259.   Upon information and belief, it is difficult, if not impossible, for
22   consumers to find attorneys who will represent them in AAA arbitrations because it is
23   nearly impossible to win and not financially viable to take arbitrations, even with robust
24   consumer acts in WV and NC and attorney fee shifters.
25          260.   Plaintiff and other similarly situated consumers have suffered significant
26   financial loss as a result of the Defendant’s anticompetitive conduct in the format of lost
27   arbitrations, lower awards, difficulty to impossibility in finding counsel to represent
28
                                                  49
     Case 2:25-cv-01650-JJT        Document 1      Filed 05/15/25    Page 50 of 62




 1   them, and inability to protect themselves adequately and vindicate their rights.
 2          261.   The Defendant’s conduct in limiting arbitrator compensation and
 3   providing for restrictive rules for consumer arbitrations is not an act typical or ordinary
 4   in the provision of neutral arbitration services.
 5                                          PLAINTIFF
 6          262.   In this action, each Plaintiff is filing in their capacity as someone harmed
 7   by the Defendants’ anticompetitive conduct only.
 8          263.   Each Plaintiff would have chosen another forum other than the AAA if
 9   they could have but were stuck with the AAA because of the AAA’s anticompetitive
10   conduct.
11          264.   The Plaintiff below does not allege any damages as a result of the AAA’s
12   handling of their individual cases, egregious and strange as it may have been in some
13   cases. Plaintiff is only alleging damages related to Plaintiff’s lack of choice in the
14   marketplace and that they would have chosen another forum, literally any other forum,
15   if they had the option.
16   A.     Stephanie Stephens
17          265.   Stephanie Stephens is subject to a forced arbitration agreement with the
18   sole selection of the AAA.
19          266.   Stephanie Stephens’s 2016 agreement with CreditWorks, an Experian
20   affiliate, elects AAA as the only forum for dispute resolution, which is common in the
21   consumer credit industry due to the AAA monopoly on dispute resolution for consumer
22   credit and consumer reporting.
23          267.   Plaintiff, as a direct result of Defendant’s anticompetitive conduct, was
24   left with no forum option other than AAA.
25          268.   Plaintiff would have chosen any other forum had Plaintiff had the option
26   but was forced to use the AAA because of its monopoly.
27          269.   Stephanie Stephens is not pursuing damages for actions by the AAA in its
28
                                                 50
     Case 2:25-cv-01650-JJT        Document 1       Filed 05/15/25   Page 51 of 62




 1   capacity as an arbitral forum handling an arbitration, only in its capacity as an entity
 2   maintaining an illegal monopoly and thereby harming Stephanie Stephens.
 3          270.   Plaintiff was injured by deprivation of a non-monopolistic forum for the
 4   resolution of her dispute with Experian.
 5                             CLASS ACTION ALLEGATIONS
 6   A.     Sherman/Clayton National Class
 7          271.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff
 8   brings this claim on behalf of all United States residents with a contract providing the
 9   AAA as the only available forum for legal relief for claims.
10          272.   Plaintiff seeks to bring the claims below as a class action pursuant to Rule
11   23 of the Federal Rules of Civil Procedure on behalf of herself and all others similarly
12   situated.
13          273.   Plaintiff reserves the right to re-define a Sub-Class if necessary
14   [collectively “the Classes”] prior to class certification.
15          274.   Numerosity: The number of persons who are members of the Class, as
16   described above, is so numerous that joinder of all members in one action is
17   impracticable.
18          275.   Predominance: Questions of law and fact that are common to the entire
19   Class predominate over individual questions because the actions of Defendant
20   complained of herein were generally applicable to the entire Class. These legal and
21   factual questions include, but are not limited to:
22                 a.      Whether the Defendant AAA was illegally keeping the prices of its
23                         consumer arbitration services so low that they were anticompetitive
24                         and designed to create and maintain a monopoly in the area of
25                         consumer arbitration; and
26                 b.      Whether the Defendant AAA was illegally creating a limited forum
27                         in which consumers were at a disadvantage in the selection of
28
                                                  51
     Case 2:25-cv-01650-JJT           Document 1    Filed 05/15/25     Page 52 of 62




 1                          arbitrators, discovery, and the receipt of a fair hearing in a way that
 2                          was anticompetitive in the market and designed to create and/or
 3                          maintain a monopoly.
 4          276.     Commonality: All questions, actions, and inactions by Defendant at issue
 5   are similarly common. Such as making a determination of Defendant’s anti-competitive
 6   conduct was unfair and deceptive and in violation of state and federal statutes. The issues
 7   will be readily determined by reviewing Defendant’s records.
 8          277.     Numerosity: Plaintiff alleges upon information and belief, that the number
 9   of class members is so numerous that joinder of all of them is impractical. Plaintiff’s
10   beliefs are based on the fact that: (1) AAA has been involved in over a hundred thousand
11   arbitrations, (2) AAA only forum selection clauses are found in a majority of consumer
12   contracts in the United States including all five of the top five cell phone providers by
13   subscription numbers; (3)within four years prior to the filing of complaint through the
14   date of class certification. .
15          278.     The members of the proposed Class will be easily ascertained from the
16   records of the Defendant when discovery commences herein.
17          279.     The Class Representative’s claims raise questions of law and fact that are
18   common to claims of each member of the class. Specifically, the central issue raised by
19   this action is whether Defendants violated state and federal law by engaging in
20   monopolistic behavior that created an anti-competitive market for consumer
21   arbitrations.
22          280.     The claims of the Class Representative are not only typical of the claims
23   of each member of the class; they are identical because each consumer was subjected to
24   the same illegal conduct by the Defendant in creating, enforcing, and subjecting
25   consumers to anti-competitive arbitration terms. Specifically, the central issue raised by
26   this action is whether Defendants violated 15 U.S.C.S. § 2 et seq. in creating and
27   maintain an illegal monopoly in the area of consumer arbitration. All purported members
28
                                                   52
     Case 2:25-cv-01650-JJT        Document 1       Filed 05/15/25    Page 53 of 62




 1   of the Classes make the same allegations.
 2          281.   The common issues involved in this lawsuit predominate over any
 3   separate issues that may exist with the individual Plaintiff.
 4          282.   The Class Representatives are United States residents who will fairly and
 5   adequately protect and represent the interests of each member of the Classes.
 6   Additionally, the Class Representative is fully cognizant of her responsibilities as Class
 7   Representative, and has retained experienced counsel fully capable of, and intend upon,
 8   vigorously pursuing this action.
 9          283.   The question of law or fact common to Class Representatives’ claims and
10   the claims of each member of the Class predominate over any question of law or fact
11   affecting only individual members of the Class. Additionally, the amount in controversy
12   for each Class member’s claims would make individual lawsuits economically
13   unfeasible, if not impossible. Class Representation is, therefore, clearly superior to other
14   available methods for the fair and efficient adjudication of this controversy.
15   B.     Arizona Anti-Monopoly Subclasses
16          284.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff
17   brings this claim on behalf of Arizona residents who have a contract that provides for
18   the AAA as the only available forum for legal relief for claims.
19          285.   Plaintiff seeks to bring the claims below as a class action pursuant to Rule
20   23 of the Federal Rules of Civil Procedure on behalf of herself and all others similarly
21   situated.
22          286.   Plaintiff reserves the right to re-define a Sub-Class if necessary
23   [collectively “the Classes”] prior to class certification.
24          287.   Numerosity: The number of persons who are members of the Class, as
25   described above, is so numerous that joinder of all members in one action is
26   impracticable.
27          288.   Predominance: Questions of law and fact that are common to the entire
28
                                                  53
     Case 2:25-cv-01650-JJT       Document 1       Filed 05/15/25    Page 54 of 62




 1   Class predominate over individual questions because the actions of Defendant
 2   complained of herein were generally applicable to the entire Class. These legal and
 3   factual questions include, but are not limited to:
 4                 a.     Whether the Defendant AAA was illegally keeping the prices of its
 5                        consumer arbitration services so low that they were anticompetitive
 6                        and designed to create and maintain a monopoly in the area of
 7                        consumer arbitration; and
 8                 b.     Whether the Defendant AAA was illegally creating a limited forum
 9                        in which consumers were at a disadvantage in the selection of
10                        arbitrators, discovery, and the receipt of a fair hearing in a way that
11                        was anticompetitive in the market and designed to create and/or
12                        maintain a monopoly.
13          289.   Commonality: All questions, actions, and inactions by Defendant at issue
14   are similarly common. Such as making a determination of Defendant’s anti-competitive
15   conduct was unfair and deceptive and in violation of state and federal statutes. The issues
16   will be readily determined by reviewing Defendant’s records.
17          290.   Numerosity: Plaintiff alleges upon information and belief, that the number
18   of class members is so numerous that joinder of all of them is impractical. Plaintiff’s
19   beliefs are based on the fact that: (1) AAA has been involved in over a hundred thousand
20   arbitrations, (2) AAA only forum selection clauses are found in a majority of consumer
21   contracts in the United States including all five of the top five cell phone providers by
22   subscription numbers; (3) upon information and belief, the applicable Class period spans
23   many years and including the previous four (4) years from the date of this complaint.
24          291.   The members of the proposed Class will be easily ascertained from the
25   records of the defendant when discovery commences herein.
26          292.   The Class Representative’s claims raise questions of law and fact that are
27   common to claims of each member of the class. Specifically, the central issue raised by
28
                                                 54
     Case 2:25-cv-01650-JJT        Document 1      Filed 05/15/25     Page 55 of 62




 1   this action is whether defendants violated state and federal law by engaging in
 2   monopolistic behavior that created an anti-competitive market for consumer
 3   arbitrations.
 4          293.     The claims of the Class Representative are typical of the claims of each
 5   member of the class. Specifically, the central issue raised by this action is whether the
 6   defendants violated Arizona Rev. Stat. § 44-1403 et seq in creating and maintaining an
 7   illegal monopoly in the area of consumer arbitration. Further, the Defendants violated
 8   Article 14 Section 15 of the Arizona constitution, which bans monopolies in Arizona.
 9   All purported members of the Classes make the same allegations.
10          294.     The common issues involved in this lawsuit predominate over any
11   separate issues that may exist with the individual Plaintiff.
12          295.     The Class Representatives are United States residents who will fairly and
13   adequately protect and represent the interest of each member of the Classes.
14   Additionally, the Class Representative is fully cognizant of her responsibilities as Class
15   Representative and has retained experienced counsel fully capable of, and intent upon,
16   vigorously pursuing this action.
17          296.     The question of law or fact common to Class Representatives’ claims and
18   the claims of each member of the Class predominate over any question of law or fact
19   affecting only individual members of the Class. Additionally, the amount in controversy
20   for each Class member’s claims would make individual lawsuits economically
21   unfeasible, if not impossible. Class Representation is, therefore, clearly superior to other
22   available methods for the fair and efficient adjudication of this controversy.
23                               CLASS CLAIMS FOR RELIEF
24                                      COUNT I
          Violations of the Sherman and Clayton Antitrust Actions National Class
25
            297.     Plaintiff incorporates herein by reference all preceding paragraphs of the
26
     Class Action Complaint as if set forth fully herein verbatim.
27
28
                                                 55
     Case 2:25-cv-01650-JJT       Document 1       Filed 05/15/25    Page 56 of 62




 1          298.    AAA possesses monopoly power of the consumer arbitration market in
 2   the United States of America in violation of 15 U.S.C. § 2 et seq.
 3          299.    At all times relevant, the AAA has held a monopoly power in the market
 4   of consumer arbitrations in the United States.
 5          300.    AAA willfully acquired or maintained that power as distinguished from
 6   growth or development as a consequence of a superior product, business acumen, or
 7   historic accident in violation of 15 U.S.C. § 2 et seq.
 8          301.    The AAA has willfully maintained its monopoly power through its course
 9   of anticompetitive and exclusionary conduct, including AAA’s cut-rate pricing
10   practices, which stifle price competition and tend to create an artificial price floor, and
11   AAA’s practice of putting a cap on arbitration compensation in consumer cases and
12   using rules that provide consumers with fewer rights to discovery and adjudicate their
13   claims.
14          302.    Although each of these acts is anticompetitive in its own right, these
15   interrelated and independent actions have had a cumulative and synergistic effect that
16   has harmed competition and the competitive process.
17          303.    There is no valid procompetitive justification for AAA’s anticompetitive
18   and exclusionary conduct in the consumer arbitration market.
19          304.    AAA acted with the intent to prevent competitors from entering the
20   consumer arbitration market and was not merely the consequence of shutting out
21   competition.
22          305.    The AAA, which currently holds greater than 90% of the market share
23   within the alternate dispute resolution services (hereinafter “ADR”) market space
24   consumer arbitrations, has engaged in anticompetitive behavior to acquire and maintain
25   power over rival ADR providers within the market sector for this service.
26          306.    The Defendant, based on its extensive control of the market, is a
27   monopoly.
28
                                                 56
     Case 2:25-cv-01650-JJT       Document 1      Filed 05/15/25    Page 57 of 62




 1          307.   Indeed, as alleged previously in this complaint, the AAA has engaged in
 2   numerous anti-competitive practices to “willfully acquire [and] maintain that power”
 3   within the ADR provider market space. Cavalier Tel., LLC v. Verizon Va., Inc., 330 F.3d
 4   176.
 5          308.   As a result of the Defendant’s conduct, consumers are not provided with
 6   a neutral forum with rules and arbitrator compensation that is the norm for neutral
 7   private arbitration services both in comparison to AAA’s other legal rules, including
 8   Employment, Labor, Health, etc., and in comparison, to other arbitral forums like JAMS.
 9          309.   As a result of the Defendant’s conduct, consumers, such as the Plaintiff,
10   are not provided with any other ADR form in their consumer agreements which would
11   allow them to submit their claims in a forum where their rights may be better protected,
12   thus creating a more competitive marketplace for neutral ADR services.
13          310.   As a result of the Defendant’s conduct, other businesses that may want to
14   provide neutral ADR services are unable to because of the Defendant’s predatory pricing
15   of consumer arbitrations and their restrictive consumer arbitration rules. Other potential
16   market entrants cannot compete with the AAA and maintain a neutral arbitral forum.
17          311.   Upon best knowledge and belief, the AAA has established itself and
18   maintains its status as the dominant player and market share leader in the realm of ADR
19   as a service through a pattern of systemic anti-competitive behavior that includes but is
20   not limited to providing a substandard service to its users at a rock-bottom price thereby
21   forcing AAA’s competitors out of the ADR market space.
22          312.   The AAA is a monopoly in consumer arbitration and is exercising its
23   control of the market, the United States, to dominate the market and profiteer off the
24   backs of consumers who have no say in the choice of forum when acquiring services
25
26
27
28
                                                57
     Case 2:25-cv-01650-JJT       Document 1      Filed 05/15/25     Page 58 of 62




 1   through an adhesion contract.18
 2          313.   AAA’s anticompetitive and exclusionary conduct constitutes unlawful
 3   monopoly maintenance, in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.
 4          314.   AAA’s anticompetitive and exclusionary conduct in the online
 5   marketplace services market has no valid procompetitive justification.
 6          315.   As a result of Defendant’s conduct, the Plaintiff and all others similarly
 7   situated have suffered financial harm, lost potential amounts on verdicts by the lack of
 8   access to alternative forums with fair rules, wasted time, left without market choices,
 9   and endured frustration, annoyance, inconvenience, confusion, and other forms of harm.
10                                         COUNT II
                             Violation of the Arizona Antitrust Act
11
                                        Arizona Subclass
12          316.   Plaintiff incorporates herein by reference all preceding paragraphs of the
13   Class Action Complaint as if set forth fully herein verbatim.
14          317.   Arizona Code § 44-1403 states that “The establishment, maintenance or
15   use of a monopoly or an attempt to establish a monopoly of trade or commerce, any part
16   of which is within this state, by any person for the purpose of excluding competition or
17   controlling, fixing or maintaining prices is unlawful.”
18          318.   Plaintiff incorporates by reference into this Count the Arizona State
19   Constitution Article 14 Section 15, which is included for context on what the prohibition
20   in Arizona Code § 44-1403 means. Specifically, it states, “Monopolies and trusts shall
21   never be allowed in this state and no incorporated company, co-partnership or
22   association of persons in this state shall directly or indirectly combine or make any
23   contract, with any incorporated company, foreign or domestic, through their
24   stockholders or the trustees or assigns of such stockholders or with any co-partnership
25
     18
26     It is worth noting that none of the cell phone providers, for example, that the Plaintiff
     looked at provided a contract which did not have arbitration, and none gave consumers
27   any choice in the forum. All selected only the AAA as the ADR forum.
28
                                                 58
     Case 2:25-cv-01650-JJT        Document 1     Filed 05/15/25     Page 59 of 62




 1   or association of persons, or, in any manner whatever, to fix the prices, limit the
 2   production, or regulate the transportation of any product or commodity. The legislature
 3   shall enact laws for the enforcement of this section by adequate penalties, and in the
 4   case of incorporated companies, if necessary for that purpose, may, as a penalty declare
 5   a forfeiture of their franchises.”
 6          319.   The AAA operates within the State of Arizona.
 7          320.   The AAA has a direct effect on Arizona residents affected by arbitration
 8   clauses that arise out of the contracts made within the State of Arizona.
 9          321.   The Defendant willfully acquired this position as the market share leader
10   through anticompetitive business practices in various territories throughout the United
11   States, including the State of Arizona.
12          322.   AAA’s anticompetitive and exclusionary conduct in the online
13   marketplace services market does not have a valid procompetitive justification.
14          323.   As a result of Defendant’s conduct, the Plaintiff and all others similarly
15   situated have suffered financial harm, lost potential amounts on verdicts by the lack of
16   access to alternative forums with fair rules, wasted time, left without market choices,
17   and endured frustration, annoyance, inconvenience, confusion, and other forms of harm.
18                                         COUNT III
                              Violation of the Arizona Constitution
19
                                        Arizona Subclass
20          324.   Plaintiff incorporates herein by reference all preceding paragraphs of the
21   Class Action Complaint as if set forth fully herein verbatim.
22          325.   Article 14 Section 15 of the Arizona State Constitution titled “Monopolies
23   and Trusts” states “Monopolies and trusts shall never be allowed in this state and no
24   incorporated company, co-partnership or association of persons in this state shall
25   directly or indirectly combine or make any contract, with any incorporated company,
26   foreign or domestic, through their stockholders or the trustees or assigns of such
27
28
                                                59
     Case 2:25-cv-01650-JJT       Document 1       Filed 05/15/25    Page 60 of 62




 1   stockholders or with any co-partnership or association of persons, or, in any manner
 2   whatever, to fix the prices, limit the production, or regulate the transportation of any
 3   product or commodity. The legislature shall enact laws for the enforcement of this
 4   section by adequate penalties, and in the case of incorporated companies, if necessary
 5   for that purpose, may, as a penalty declare a forfeiture of their franchises.”
 6          326.   Pursuant to Arizona Code § 44-1403 the Arizona legislature has
 7   empowered consumers to enforce Article 14 Section 15 of the Arizona State
 8   Constitution as it applies to their rights being harmed by monopolies and trusts in
 9   Arizona.
10          327.   Defendant violated the Plaintiff and that of all other similarly situated’s
11   constitutional rights by operating a monopoly in the State of Arizona in violation of
12   Article 14 Section 15 of the Arizona Constitution.
13          328.   The AAA has a direct effect on Arizona residents affected by arbitration
14   clauses that arise out of the contracts made within the State of Arizona.
15          329.   The Defendant willfully acquired this position as the market share leader
16   through anticompetitive business practices in various territories throughout the United
17   States, including the State of Arizona.
18          330.   AAA’s anticompetitive and exclusionary conduct in the online
19   marketplace services market does not have a valid procompetitive justification.
20          331.   As a result of Defendant’s conduct, the Plaintiff and all others similarly
21   situated have suffered financial harm, lost potential amounts on verdicts by the lack of
22   access to alternative forums with fair rules, wasted time, left without market choices,
23   and endured frustration, annoyance, inconvenience, confusion, and other forms of harm.
24                                  DEMAND FOR RELIEF
25          The Plaintiff demands from the Defendant:
26          a)     Injunctive relief pursuant to 15 U.S.C. § 26;
27          b)     On behalf of herself and all members of the proposed Class herein,
28
                                                 60
     Case 2:25-cv-01650-JJT      Document 1     Filed 05/15/25     Page 61 of 62




 1               demands judgment in an amount sufficient to fully compensate her and all
 2               members of the proposed Class for all damages they have suffered as a
 3               result of the Defendants violations of statute, violations of public policy,
 4               or other wrongful and/or illegal conduct;
 5         c)    Actual damages for the violations of the Clayton Antitrust Act, as
 6               authorized by 15 U.S.C. 15, plus interest pursuant to the same for all such
 7               violations that occurred up to the date and time of the filing of this
 8               complaint;
 9         d)    Treble damages for the violations of the Clayton Antitrust Act, as
10               authorized by 15 U.S.C. 15 plus interest pursuant to the same;
11         e)    Plaintiff’s cost of litigation including reasonable attorney’s fees for
12               litigation of this violation of the Clayton Antitrust Act, as authorized by
13               15 U.S.C. 15;
14         f)    Actual damages for the violations of the Arizona Uniform State Antitrust
15               Act pursuant to Arizona Code § 44-1408;
16         g)    Treble damages for the violations of the Arizona Uniform State Antitrust
17               Act pursuant to Arizona Code § 44-1408;
18         h)    Injunctive relief in the form of forfeit of the franchise pursuant to Arizona
19               Constitution § Article 14 Section 15;
20         i)    If a class and/or subclass are not certified, Plaintiff seeks issue
21               certification for each class and cause of action; and
22         j)    Such other relief as the Court shall deem just and proper under the
23               attendant circumstances.
24   PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE.
25
26
27
28
                                              61
     Case 2:25-cv-01650-JJT   Document 1     Filed 05/15/25    Page 62 of 62




                                           RESPECTFULLY SUBMITTED,
 1
 2   Dated: May 15, 2025,                  /s/ Susan Mary Rotkis
                                           Susan Mary Rotkis, AZ Bar No. 032866
 3                                         CONSUMER JUSTICE LAW FIRM
 4                                         2290 East Speedway Boulevard
                                           Tucson, AZ 85719
 5                                         T: (602) 807-1504
                                           E: srotkis@consumerjustice.com
 6
 7                                         David A. Chami, AZ Bar No. 027585
                                           CONSUMER JUSTICE LAW FIRM
 8                                         8095 North 85th Way
 9                                         Scottsdale, AZ 85258
                                           T: (480) 626-2359
10                                         E: dchami@consumerjustice.com
11
                                           Benjamin Sheridan
12                                         Jed Nolan
                                           pro hac vice applications forthcoming
13                                         KLEIN & SHERIDAN, LC
14                                         3566 Teays Valley Road
                                           Hurricane, WV 25526
15                                         T: (304) 562-7111
                                           E: ben@kleinsheridan.com
16
                                           E: jed@kleinsheridan.com
17
                                           Attorneys for Plaintiff Stephanie Stephens &
18                                         the Putative Class
19
20
21
22
23
24
25
26
27
28
                                           62
